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              Security Analysis of Georgia’s
           ImageCast X Ballot Marking Devices

      Expert Report Submitted on Behalf of Plaintiffs Donna Curling, et al.
           Curling v. Raffensperger, Civil Action No. 1:17-CV-2989-AT
     U.S. District Court for the Northern District of Georgia, Atlanta Division


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                  With the assistance of Prof. Drew Springall, Ph.D.

                                    July 1, 2021
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   1     Overview
   In 2020, Georgia replaced its insecure, decades-old DRE voting machines with new
   ballot scanners and ballot marking devices (BMDs) manufactured by Dominion
   Voting Systems. Although the same BMDs are used for accessibility in parts
   of approximately 15 other states, Georgia is unique in using them statewide as
   the primary method of in-person voting [89]. This unusual arrangement places
   potentially malicious computers between Georgia voters and their paper ballots.
   In contrast, in most of the United States, voters mark paper ballots directly by
   hand, and BMDs are reserved for those who need or request them [87]. Georgians
   who vote at a polling place generally have no choice but to use the BMDs.
       All voting systems face cybersecurity risks. As the National Academies of
   Sciences, Engineering, and Medicine recently concluded “[t]here is no realistic
   mechanism to fully secure vote casting and tabulation computer systems from
   cyber threats” [58]. However, not all voting systems are equally vulnerable.
   Curling Plaintiffs contend that Georgia’s universal-use BMD voting system is so
   insecure that it violates voters’ constitutional rights.
       To assist the Court in understanding the risks that the system creates, Curling
   Plaintiffs asked me to conduct a security analysis of the ImageCast X (ICX) BMD
   and associated equipment used in Georgia elections. Using an ICX provided by
   Fulton County, I played the role of an attacker and attempted to discover ways
   to compromise the system and change votes. I, along with my assistant, spent a
   total of approximately twelve person-weeks studying the machines, testing for
   vulnerabilities, and developing proof-of-concept attacks. Many of the attacks
   I successfully implemented could be effectuated by malicious actors with very
   limited time and access to the machines, as little as mere minutes. This report
   documents my findings and conclusions.1

   1.1   Principal Findings
   I show that the ICX suffers from critical vulnerabilities that can be exploited
   to subvert all of its security mechanisms, including: user authentication, data
   integrity protection, access control, privilege separation, audit logs, protective
   counters, hash validation, and external firmware validation. I demonstrate that
   these vulnerabilities provide multiple routes by which attackers can install ma-
   licious software on Georgia’s BMDs, either with temporary physical access or
   remotely from election management systems (EMSs). I explain how such malware
   can alter voters’ votes while subverting all of the procedural protections practiced
   by the State, including acceptance testing, hash validation, logic and accuracy
   testing, external firmware validation, and risk-limiting audits (RLAs).
       The most serious vulnerabilities I discovered include the following:
    1. Attackers can alter the QR codes on printed ballots to modify voters’ selec-
       tions. Critically, voters have no practical way to confirm that the QR codes
      1
        I hereby incorporate my previous declarations as if fully stated herein. I have
   personal knowledge of the facts in this report and, if called to testify as a witness, I
   would testify under oath to these facts.


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       match their intent, but they are the only part of the ballot that the scanners
       count. I demonstrate how the QR codes can be modified by compromising the
       BMD printer (Section 5) or by installing malware on the BMD (Section 7).
    2. The software update that Georgia installed in October 2020 left Georgia’s
       BMDs in a state where anyone can install malware with only brief physical
       access to the machines. I show that this problem can potentially be exploited
       in the polling place even by non-technical voters (Section 8).
    3. Attackers can forge or manipulate the smart cards that the ICX uses to
       authenticate technicians, poll workers, and voters. Without needing any
       secret information, I created a counterfeit technician card that can unlock
       any ICX in Georgia, allowing anyone with physical access to install malware
       (Section 6).
    4. I demonstrate that attackers can execute arbitrary code with root (super-
       visory) privileges by altering the election definition file that county workers
       copy to every BMD before each election. Attackers could exploit this to
       spread malware to all BMDs across a county or the entire state (Section 9).
    5. The ICX contains numerous unnecessary Android applications, including a
       Terminal Emulator that provides a “root shell” (a supervisory command inter-
       face that overrides access controls). An attacker can alter the BMD’s audit logs
       simply by opening them in the on-screen Text Editor application (Section 10).
    6. In a given election, all BMDs and scanners in a county share the same set of
       cryptographic keys, which are used for authentication and to protect election
       results on scanner memory cards. An attacker with brief access to a single
       ICX or a single Poll Worker Card and PIN can obtain the county-wide keys.
    7. The ImageCast Precinct (ICP) scanner stores ballot scans in the order they
       were cast. A dishonest election worker (like that emphasized by the Defen-
       dants and their expert Michael Shamos) with just brief access to the scanner’s
       memory card could violate ballot secrecy and determine how individual voters
       voted (Section 11).

   Proof-of-Concept Attacks In addition to discovering and validating the
   vulnerabilities described above, I developed a series of proof-of-concept attacks
   that illustrate how vulnerabilities in the ICX could be used to change the personal
   votes of individual Georgia voters. I am prepared to demonstrate:

    1. An attack that uses malicious hardware hidden inside the BMD’s printer to
       alter the votes on printed ballots (Section 5).
    2. Malware that runs on the BMD and alters votes while avoiding hash validation,
       firmware validation, and logic and accuracy testing (Section 7).
    3. An automated method of installing malware by briefly unplugging the printer
       cable and attaching a malicious USB device (Section 8).
    4. Vote-stealing malware that can be installed remotely from the EMS, by
       altering the BMD’s election definition file (Section 9).


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   Mitigation Some of the critical vulnerabilities I discovered can be at least
   partially mitigated through changes to the ICX’s software, and I encourage
   Dominion and the State of Georgia to move as quickly as possible to remedy
   them.2 However, merely patching these specific problems is unlikely to make the
   ICX substantially more secure. I did not have the resources to find all possible
   exploitable security bugs in the ICX software. Once I found one that satisfied a
   particular adversarial objective, I usually turned to investigating other aspects
   of the system. It is very likely that there are other, equally critical flaws in the
   ICX that are yet to be discovered. Fully defending it will require discovering and
   mitigating them all, but attackers would only have to find one.


   1.2    Main Conclusions

   On the basis of the technical findings described in this report, I reach the following
   conclusions:

    – The ICX BMDs are not sufficiently secured against technical compromise
      to withstand vote-altering attacks by bad actors who are likely to attack
      future elections in Georgia. Adversaries with the necessary sophistication and
      resources to carry out attacks like those I have shown to be possible include
      hostile foreign governments such as Russia—which has targeted Georgia’s
      election system in the past [49]—and domestic political actors whose close
      associates have recently acquired access to the same Dominion equipment
      that Georgia uses through audits and litigation in other jurisdictions.
    – The ICX BMDs can be compromised to the same extent and as or more
      easily than the AccuVote TS and TS-X DREs they replaced.3 Both systems
      have similar weaknesses, including readily bypassed user authentication
      and software validation, and susceptibility to malware that spreads from a
      central point to machines throughout a jurisdiction. Yet with the BMD, these
      vulnerabilities tend to be even easier to exploit than on the DRE system,
      since the ICX uses more modern and modular technology that is simpler to
      investigate and modify.
    – Despite the addition of a paper trail, ICX malware can still change individual
      votes and most election outcomes without detection. Election results are
      determined from ballot QR codes, which malware can modify, yet voters
      cannot check that the QR codes match their intent, nor does the state compare
      them to the human-readable ballot text. Although outcome-changing fraud
      conducted in this manner could be detected by a risk-limiting audit, Georgia
      requires a risk-limiting audit of only one contest every two years, so the vast
      majority of elections and contests have no such assurance. And even the
      2
        Over the past six months, I have repeatedly offered (through Curling Plaintiffs’
   counsel) to meet with Dominion and share my findings, so that the company could begin
   developing software fixes where possible, but they have yet to take me up on this offer.
      3
        I conducted similar analyses of the TS in 2006 [31] and the TS-X in 2007 [11].


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       most robust risk-limiting audit can only assess an election outcome; it cannot
       evaluate whether individual votes counted as intended.
    – The ICX’s vulnerabilities also make it possible for an attacker to compromise
      the auditability of the ballots, by altering both the QR codes and the human
      readable text. Such cheating could not be detected by an RLA or a hand count,
      since all records of the voter’s intent would be wrong. The only practical way
      to discover such an attack would be if enough voters reviewed their ballots,
      noticed the errors, and alerted election officials, and election officials identified
      the problem as a systemic hack or malfunction; but human-factors studies
      show that most voters do not review their ballots carefully enough, and
      election officials likely would consider such reports the product of voter error.
      This means that in a close contest, ICX malware could manipulate enough
      ballots to change the election outcome with low probability of detection. In
      contrast, risk-limiting audits of hand-marked paper ballots, when used with
      appropriate procedural precautions, provide high confidence that individual
      votes are counted as intended and election outcomes are correct even if the
      election technology is fully compromised.
    – Using vulnerable ICX BMDs for all in-person voters, as Georgia does, greatly
      magnifies the security risks compared to jurisdictions that use hand-marked
      paper ballots but provide BMDs to voter upon request. When use of such
      BMDs is limited to a small fraction of voters, as in most other states, they
      are a less valuable target and less likely to be attacked at all. Even if they
      are successfully compromised, attackers can change at most a small fraction
      of votes—which, again, creates a strong disincentive to undertake the effort
      and risk to change any such votes.
    – The critical vulnerabilities in the ICX—and the wide variety of lesser but
      still serious security issues—indicate that it was developed without sufficient
      attention to security during design, software engineering, and testing. The
      resulting system architecture is brittle; small mistakes can lead to complete
      exploitation. Likewise, previous security testing efforts as part of federal
      and state certification processes appear not to have uncovered the critical
      problems I found. This suggests that either the ICX’s vulnerabilities run
      deep or that earlier testing was superficial. In my professional experience,
      secure systems tend to result from development and testing processes that
      integrate careful consideration of security from their inception. In my view,
      it would be extremely difficult to retrofit security into a system that was not
      initially produced with such a process.

       My technical findings leave Georgia voters with greatly diminished grounds to
   be confident that the votes they cast on the ICX BMD are secured, that their votes
   will be counted correctly, or that any future elections conducted using Georgia’s
   universal-BMD system will be reasonably secure from attack and produce the
   correct results. No grand conspiracies would be necessary to commit large-scale
   fraud, but rather only moderate technical skills of the kind that attackers who


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   are likely to target Georgia’s elections already possess. Unfortunately, even if
   such an attack never comes, the fact that Georgia’s BMDs are so vulnerable is
   all but certain to be exploited by partisan actors to suppress voter participation
   and cast doubt on the legitimacy of election results.


   1.3   Organization of this Report
   I begin in Section 2 by providing an overview of the Democracy Suite voting
   equipment used in Georgia. In Section 3, I establish a threat model, including
   the most likely kinds of attacks and attackers facing the election system, and
   ways in which these attackers might attempt to manipulate BMD ballots. I then
   discuss my methodology and testing process in Section 4.
       Next, I present my technical findings, which I organize into several parts.
   Section 5 explains how the barcodes on ICX ballots can be decoded and manip-
   ulated, and how such manipulation could be accomplished in the supply chain
   through alteration of the BMD printer hardware. In Section 6, I analyze the
   smart cards that the ICX uses to authenticate workers and voters, and I show
   numerous ways that they can be attacked to create counterfeit cards and to
   extract cryptographic secrets. Section 7 describes how I created malicious soft-
   ware that can run on the ICX and manipulate ballots while subverting Georgia’s
   procedural defenses. In Section 8, I describe several ways that such malware
   could be installed on individual BMDs by attackers with temporary physical
   access, including by exploiting a weakness introduced in the process of installing
   the October 2020 BMD software update. In Section 9, I describe a remote code
   execution vulnerability that makes it possible to install malware over a wide
   area without physical access to individual BMDs. Section 10 explains how even
   non-technical attackers can easily manipulate the ICX’s audit log and protective
   counters. Finally, Section 11 details security problems that I discovered in the
   ICP ballot scanner incidentally to my study of the ICX.




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   2     Georgia’s Voting Equipment
   As of November 2020, approximately 24 states used one or more components of
   the Dominion Democracy Suite voting system [88], which encompasses various
   models and versions of ballot scanners, BMDs, and election management system
   software. Georgia uses Democracy Suite version 5.5–A, including ImageCast X
   Prime (ICX) BMDs, ImageCast Precinct (ICP) precinct-count optical scanners,
   ImageCast Central (ICC) central-count optical scanners, and the Democracy
   Suite EMS.
       My analysis focuses on the ICX BMD. In 2020, the ICX was used in parts of 16
   states: Alaska, Arizona, California, Colorado, Georgia, Illinois, Kansas, Louisiana,
   Michigan, Missouri, Nevada, New Jersey, Ohio, Pennsylvania, Tennessee, and
   Washington. Although the vast majority of jurisdictions provide the ICX BMD to
   voters on request to assist with accessibility, Georgia is the only state to mandate
   ICX BMDs as the primary method of in-person voting state-wide [89].

   2.1   Certification and Testing History
   Democracy Suite 5.5–A is the successor to version 5.5, which was certified
   by the U.S. Election Assistance Commission (EAC) in September 2018 under
   the Voluntary Voting Systems Guidelines (VVSG) 1.0 (2005) standard [85, 86]
   following testing by Pro V&V, an EAC-accredited Voting System Test Laboratory
   (VSTL) [67]. Version 5.5–A was certified in January 2019 as a modification to
   5.5. As a modification, it required only limited review, which was conducted by
   another VSTL, SLI Compliance [74].
       Georgia entered into an agreement to purchase 5.5–A in July 2019 [34], and
   the Secretary of State engaged Pro V&V to evaluate it against state requirements.
   This evaluation was completed in August 2019 [66], and, two days later, the
   Secretary of State certified that the system was “in compliance with the applicable
   provisions of the Georgia Election Code and Rules of the Secretary of State” [33].
       Over the past four years, Democracy Suite has been the subject of security
   testing on at least seven occasions as part of state certification processes in other
   states, as summarized in Table 1. In California and Pennsylvania, tests were
   conducted by Pro V&V and SLI, and in Texas by statutorily appointed examiners.
   These tests involved source code review and/or hands-on testing. Some of the
   tests raised serious concerns, but only Texas declined to certify the Dominion
   system. Based on the public test reports, it appears that none of these tests
   uncovered the critical security issues that I document here.

   2.2   ImageCast X Hardware and Software
   The ICX [25] is an Android-based touch-screen device that can be operated as
   either a BMD or a DRE. In Georgia, it is exclusively used as a BMD, allowing
   voters to mark ballots on-screen and print them to an attached laser printer.
       The ICX hardware, shown in Figure 1, is a commercial off-the-shelf (COTS)
   Avalue HID-21V-BTX-B1R “Industrial Panel PC” [8]. On the front of the


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Date     Version State VSTL        Findings                                      Result
Oct 2017 5.2      CA   SLI         Issues related to audit logging, passwords,   Accept [13, 77, 78]
                                   anti-virus, and installation
                                   Potential vulnerability related to software
                                   execution from attached USB drive
Oct 2018 5.5      PA   SLI         Concerns regarding system hardening           Reject [64]
                                   documentation
Jan 2019 5.5–A    PA   SLI         None                                          Accept [64]
Jun 2019 5.5      TX   —           “concerns about whether [it] preserves        Reject [27]
                                   the secrecy of the ballot [and] operates
                                   efficiently and accurately”
Oct 2019 5.10     CA   SLI         Issues related to audit logging, passwords,   Accept [12, 75, 76]
                                   anti-virus, and installation
Jan 2020 5.5–A    TX   —           “concerns about whether [it] operates         Reject [28]
                                   efficiently and accurately; and is safe
                                   from fraudulent or unauthorized
                                   manipulation”
Jul 2020 5.10–A   CA   Pro V&V     None (source-code only)                       Accept [55, 65]

       Table 1: Prior Security Testing During State Certifications. Various ver-
       sions of the ICX and ICP were subjected to forms of security testing during state
       certification tests in California, Pennsylvania, and Texas. Although some tests
       flagged concerns, only Texas declined to certified the equipment. None of these
       tests appear to have uncovered the critical security issues we found.



       device, there is a 21.5-inch touch-screen display and a smart-card slot used for
       authentication. On the back, there are four externally-accessible compartments
       covered by plastic doors: three containing various ports and the machine’s power
       button, and one with a battery for backup power.
           The ICX I tested runs a modified version of the Android 5.1.1 (“Lollipop”).
       This version of Android was released in December 2015. Even at that time, the
       next major version of Android (“Marshmallow”) had been available for months.
       Today, the current release is Android 11, which shipped in September 2020 [3].
           Most of the ICX’s functionality is provided by an Android application devel-
       oped by Dominion, which I will refer to as the “ICX App”. Unlike with consumer
       phones and tablets, the ICX App is not distributed through an “app store” (and
       could not be without connecting the ICX to the Internet). Instead, it is installed
       through a process called “side-loading”, in which an Android application package
       (APK) file containing the software is loaded from a USB device.
           The ICX App itself does not contain any election-specific information, such
       as races or candidates. Rather, these are loaded to the device from a USB drive
       before each election, in the form of an election definition file created using the
       Democracy Suite EMS software.


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                (a) ImageCast X [8]               (b) ImageCast Precinct [23]

          Figure 1: The ICX BMD and ICP Scanner Used in Georgia


    2.3   ImageCast Precinct Hardware and Software
    While not the focus of this study, I briefly examined the ICP scanner. The
    ICP [23], shown in Figure 1, is used to count voted ballots. It can process ballots
    that are produced by the ICX or those that are marked by hand. Inserted ballots
    are automatically pulled through the paper path, scanned on both sides, and
    deposited into a ballot box.
        In contrast to the ICX, the ICP uses a custom hardware design. A small
    touch-screen display provides administrative controls and feedback to voters. A
    built-in thermal printer produces “poll tapes” that record vote tallies. Whereas
    the ICX uses standard smart cards for user authentication, the ICP uses a device
    called an iButton [47], which Dominion refers to as a “security key”.
        There are three externally-accessible compartments on the ICP, all with
    plastic doors that can be covered with a tamper-evident seal. A compartment on
    the right side contains a USB Type-A port and an RJ-45 jack. On the front are
    two compartments for inserting Compact Flash cards used to load the election
    definition and store results.
        The ICP I tested runs a variant of the Linux operating system, µClinux version
    20070130. µClinux is a Linux variant intended for use in embedded devices; version
    20070130 was released in February 2007 [83] and is more than 14 years older than
    the most recent Linux version. A custom application named cf200.sig runs on
    top of µClinux and provides most of the scanner’s functionality.




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    3     Threats to Georgia Elections
    Georgia elections face a growing risk of attack by a range of capable adversaries,
    including hostile foreign governments, domestic political actors, and election
    insiders. Here I describe these threat actors, their capabilities, and what they
    are likely to seek to accomplish through technical manipulation. I also discuss
    strategies they could use to manipulate ballots voted using the ICX BMD.

    3.1   Threat Actors
    Hostile Foreign Governments. Georgia’s election system continues to face
    a high risk of being targeted by hostile foreign governments, such as Russia,
    which mounted a complex campaign of cyber attacks against U.S. election
    infrastructure—including Georgia’s—during the 2016 election [48, 49]. Hostile
    governments could attempt to hack Georgia’s election system to achieve a variety
    of goals, including causing fraudulent election outcomes.
        Russia and other foreign governments continue to threaten Georgia’s elections
    today. Less than a year ago, the U.S. Intelligence Community assessed that foreign
    threats to the 2020 election included “ongoing and potential activity” from Russia,
    China, and Iran, concluding that “[f]oreign efforts to influence or interfere with
    our elections are a direct threat to the fabric of our democracy”. These adversarial
    governments may “seek to compromise our election infrastructure for a range of
    possible purposes, such as interfering with the voting process, stealing sensitive
    data, or calling into question the validity of the election results.” [63]
        Nation-state actors are among the most well resourced and technically so-
    phisticated adversaries, and some of the most difficult to defend against. They
    frequently discover vulnerabilities in widely used software with which they can
    compromise protected systems, and they capable of creating advanced malicious
    software tailored for individual high-value targets [29, 72].
        Nation-state actors likely can obtain access to election equipment with which
    to develop attacks via physical intrusion, theft, or by purchasing it under false
    pretenses. They also have developed a variety of techniques for infiltrating non-
    Internet-connected systems, including by compromising hardware and software
    supply chains [15, 61, 62] and by spreading malware on removable media that
    workers use to copy files in and out of protected environments.4 Such methods
    could be used to target the EMS systems that are used to prepare and distribute
    election definitions files for the ICX. The attackers could then exploit vulnerabil-
    ities I discovered to spread vote-stealing malware to BMDs throughout Georgia.

    Domestic Political Actors. In addition to the threat from foreign governments,
    Georgia’s election system faces increasing risks from domestic political actors.
    Politically motivated attackers might seek to directly alter individual votes and
       4
         A well-known example of this ability, which is known as “jumping an air gap”, is the
    Stuxnet computer virus, which was created to sabotage Iran’s nuclear centrifuge program
    by attacking factory equipment that was not directly connected to the Internet [92].


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    thereby change the outcome of a future election through hacking. They are also
    likely to exploit the fact that the election system has vulnerabilities to cast doubt
    on the legitimacy of results or suppress voter participation.
        My work demonstrates that discovering and exploiting vulnerabilities in the
    ICX requires only a moderate time investment from technical experts. In recent
    months, numerous technically-skilled outside parties have gained access [17, 68].
        For example, contractors have been given unsupervised access to ICX and
    ICP equipment in Maricopa County, Arizona, in the context of a controversial
    forensic audit of the November election [14, 43]. The audit is being led by a
    cybersecurity firm called Cyber Ninjas, whose owner is said to promote baseless
    conspiracy theories that the 2020 Presidential election was hacked to defeat
    Donald Trump [26]. The proliferation of access to the equipment by possibly
    untrustworthy and politically-motivated actors and their associates has greatly
    increased the risk that information sufficient to attack Georgia’s election system
    will fall into the wrong hands.

    Election Insiders. As the Defendants and their expert Michael Shamos have
    emphasized, dishonest election insiders also pose a high risk to Georgia elections.
    County technicians, vendor support personnel, and poll workers need to have
    access to election equipment—sometimes without supervision—in order to carry
    out their job functions. I detail a wide variety of attacks that could be performed
    with such access, including infecting BMDs with malware on a wide scale.
       Although discovering vulnerabilities and developing malware likely requires
    a degree of technical skill beyond that of most election workers, malware, once
    developed, can be implanted by unskilled attackers. Dishonest insiders could be
    recruited (or planted) by the sophisticated foreign and domestic threat actors
    described above to attack Georgia’s voting system in this manner.

    Voters. The least privileged category of attacker I consider is ordinary voters,
    who have brief access to the ICX within the polling place. Most voters are unlikely
    to have the technical expertise to develop attacks on their own, but, like election
    insiders, non-technical voters could be recruited by more sophisticated threat
    actors. I assume only that a dishonest voter has the ability to follow instructions
    provided by a more technical criminal. And, of course, there no doubt are many
    among the millions in Georgia who themselves possess the requisite technical
    skills to develop and implement one or more of the attacks I detail here, among
    others not yet identified. Under this model, I show that even typical voters could
    potentially infect Georgia BMDs with vote-stealing malware.

    3.2   BMD Ballot Manipulation Attacks
    The ICX, as used in Georgia, produces ballots like the one shown in Figure 2.
    They are printed on one or more sheets of letter-size paper. The ballot design uses
    a QR code (a kind of two-dimensional barcode) to represent the voter’s selections
    in machine-readable form. Although the ballot also contains human-readable text


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    that summarizes the selected choices for each contest, Dominion scanners ignore
    the ballot text and exclusively count the votes that are encoded in the QR code.
    Voters have no practical way to read the QR codes, so they cannot verify the
    representation of their vote that is counted.
       In later sections, I will show how attackers can manipulate ICX ballots through
    attacks on the BMD printer or on the ICX software. By either of these means,
    attackers could apply two different strategies for altering votes:

    Altering only the barcodes. Attackers could cause the BMDs to print QR
       codes that differ from voters’ selections while leaving the human-readable
       text of the ballot unchanged. Since voters cannot read QR codes unaided,
       they would be unable to detect the alterations, but, since the QR code is the
       only part of the ballot the scanners count, the impact would be a change
       to the tabulation of those individual votes affected and potentially to the
       election results. The only known safeguard that can rule out such an attack is
       to compare the human-readable text on every voted ballot to the QR codes,
       which Georgia has never done in any election and which does not appear to
       be required or anticipated for future elections.
       Since attackers might choose to target any race in any election, every race
       and every election would need to be subjected to a rigorous risk-limiting audit
       (RLA). Georgia rules currently require an RLA of only a single state-wide
       contest every two years [69]. In the vast majority of races—even high-profile
       ones, such as the U.S. Senate races in November 2020 and January 2021—the
       state does not audit the human-readable ballot text at all, and so it is highly
       likely that barcode-only attacks would go undetected.
    Altering both the barcodes and the text. Attacks on the BMDs could also
       change both the barcode and the human-readable text on a fraction of the
       printed ballots, so that both represented the same set of fraudulent selections.
       Research shows that few voters carefully review BMD ballots [9, 54]. Conse-
       quently, when most voters use BMDs, manipulation of enough votes to change
       the winner of a close race would likely go undetected, and individual voters
       would be disenfranchised, even if the election outcome were unchanged.5
       No audit or recount could detect this fraud—not even an RLA—because all
       records of the voter’s intent would be wrong. Pre-election or parallel testing
       also cannot reliably detect such cheating [80]. Even if officials did suspect that
       the BMDs had been attacked, there would probably be no straightforward way
       to determine the correct outcome and no way at all to determine each individ-
       ual voter’s intended vote. The only recourse might be to rerun the election.

       Both attack strategies could be accomplished using the same technical meth-
    ods, so attackers can choose between them depending on the contest being
    targeted. In contests where no audit or recount is likely, attackers can cheat
       5
         I review the research concerning voter-verifiability of BMD ballots (which includes
    my own award-winning peer-reviewed work [9]) in a prior declaration [39, ¶ 23–33].
    Data from subsequent research lends further support to my conclusions [54].


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    Figure 2: BMD Ballot, Showing QR Code. This is a real ballot cast in Fayette
    County during the November 2020 election, as captured by an ICP scanner. Note
    the small and densely printed text. Although the selected candidates are printed
    in human-readable form, the scanners ignore the text and exclusively count the
    votes encoded in the QR code, which voters have no practical means to verify.



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    arbitrarily by altering only the ballot barcodes. Otherwise, as long as the margin
    of victory is likely to be small, attackers can still change the election outcome
    with low risk of detection by altering both the barcodes and the ballot text on a
    small fraction of ballots across many BMDs.
         Notably, both styles of ballot manipulation are far greater risks when BMDs
    are used for all in-person voters, as in Georgia, than when only a small fraction
    of voters use them, as in most other states. When few voters use BMDs, even
    changing every BMD ballot could only affect the outcome of contests with very
    narrow margins, and successful fraud would usually require cheating on such a
    large fraction of BMD ballots that it would likely be discovered. This makes the
    BMDs an unappealing target and reduces the risk that they will be attacked at
    all. In contrast, Georgia’s universal-use BMDs would be a very appealing target,
    since they expose all in-person voters to potential ballot manipulation.
         In sections that follow, I demonstrate ballot manipulation attacks in several
    contexts: via attacking the BMD’s printer, by installing malicious software onto
    BMDs with physical access, and by spreading malware to all BMDs across wide
    areas from central locations. In my implementations of these attacks, I alter only
    ballot barcodes, but altering both the barcodes and the ballot text would require
    only straightforward changes to the malicious code.




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    4     Methodology and Testing Process
    4.1     Testing Methodology
    Security testing is a widely-recognized best practice, especially for critical systems.
    My tests of the Georgia voting equipment applied a form of the security testing
    methodology known as Open Ended Vulnerability Testing (OEVT) [59], which was
    recommended for voting system testing by the U.S. EAC’s Technical Guidelines
    Development Committee. As described by in a report by the National Institute
    of Standards and Technology (NIST) [59]:
          The goal of OEVT is to discover architecture, design and implementation
          flaws that have crept into the system which may not be detected using
          systematic functional, reliability, and security testing and can be exploited
          to change the outcome of an election, can provide erroneous results for
          an election, can cause denial of service, can compromise [the] secrecy of
          [the] vote, or can compromise [the] security audit log.
   OEVT pursues this by having testers play the role of an adversary and attempt
   to compromise the system. They engage in an iterative process in which they:
   (1) work to understand how the system functions through observation, review of
   documentation, hands-on experimentation, and reverse-engineering; (2) generate
   hypotheses about how security might be compromised; and (3) validate those
   hypotheses through experiments. Forms of OEVT have been applied in compre-
   hensive voting system security reviews commissioned by the Secretaries of State
   of California [10] and Ohio [57], and in numerous research studies of deployed
   election equipment [42].
       Since I was provided with access to equipment but not to the software source
   code, I applied a “black-box” testing approach, in which I relied entirely on reverse-
   engineering and experimentation to discover vulnerabilities. Though less efficient
   than “white-box” testing (i.e., analysis conducted with access to source code), a
   black-box approach has the advantage of more closely mimicking the capabilities
   of the largest number of potential attackers. That is, any vulnerabilities I found
   could also be discovered by real attackers without access to Dominion’s source
   code.
       OEVT methodology has important limitations. It is highly dependent on
   the skill, resources, and experience of the testers, and also on good luck. I
   was fortunate that many of the observations that I decided to pursue through
   detailed testing proved to be productive, but there were many other observations
   that I decided not to pursue, and I almost certainly overlooked clues to other
   important weaknesses. Due to time and resource constraints, once I found one
   way to accomplish an adversarial objective (e.g., installing malware remotely),
   I usually moved on to another goal, rather than attempting to find all ways of
   accomplishing it. For these reasons, I stress that while my methodology is effective
   for discovering and proving the existence of security problems, the vulnerabilities I
   uncovered are almost certainly not the only such problems affecting the equipment
   I studied.


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    4.2   Materials Examined

   I received access to Georgia election system components that were provided to
   Plaintiffs by Fulton County in compliance with this Court’s orders. The major
   components were an ImageCast X Prime (ICX) BMD, serial number 1910250020,
   running software version 5.5.10.30, and an ImageCast Precinct (ICP) ballot
   scanner, serial number AAFAJKL0064, running software version 5.5.3-0002.
       In addition, I received a Poll Worker Card and a Technician Card (but not
   a Voter Card) for the BMD, together with the PINs for both cards. I was also
   provided a Centon USB drive containing an ICX election definition file for a
   mock election used for testing and training. The scanner came with two compact
   flash cards prepared for use in the same mock election, as well as an iButton
   Security Key and passwords for operating administrative functions.
       Fulton County did not provide the off-the-shelf laser printer used in conjunc-
   tion with the BMD. Instead, Plaintiffs acquired a unit of the same model, an HP
   LaserJet M402dne, from a commercial source. I was not provided access to the
   Democracy Suite EMS software.
       Analysis of the ICX’s audit logs indicated that the unit had been previously
   tested but had not been used in an election. The unit provided to us had two
   tamper-evident seals on one of its four compartments. I opted not to remove the
   seals or open the device’s chassis during the course of this investigation.
       In June 2021, I received access to further election system data. State Defen-
   dants provided Plaintiffs copies of data sent to the Secretary of State by Georgia
   counties following the November 2020 and January 2021 elections. Although this
   data was significantly incomplete, many counties returned Election Packages—
   backups created by the Democracy Suite EMS—which I briefly examined to
   ascertain how counties typically configured their BMDs. I also extracted the ICX
   election definition file used by Fulton County in the November 2020 election,
   which I used for further tests.
       Five of the county data sets provided by State Defendants contained copies of
   the installation file for the October 2020 ICX software update, version 5.5.10.32.
   The presence of this file may indicate that the counties returned data to the
   Secretary on the same USB drives that they used to receive or distribute the
   software update, without first wiping the device.
       I completed initial testing with the original ICX software version, 5.5.10.30.
   I later used the update installation file and the official installation instructions
   (attached as Exhibit A) to upgrade to version 5.5.10.32 and reverify the findings.
   Except for a vulnerability reported in Section 8 that is a consequence of Georgia
   updating the software, both versions exhibited the same vulnerabilities.


    4.3   Testing Process

    Throughout the analysis, the voting equipment was maintained in a secure facility
    in Atlanta. Due to the COVID-19 pandemic, I performed most testing remotely
    via videoconference, directing on-site work by my assistant, Dr. Springall. I have


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    personally verified all findings in this report, and all opinions and conclusions
    are solely my own.
        I began working with the Fulton County equipment on September 4, 2020
    and conducted 11 work sessions through June 25, 2021. Between sessions, I
    reviewed documentation, analyzed collected data, performed reverse-engineering,
    and prepared tests, so as to make efficient use of time with the equipment. The
    entire process took approximately twelve person-weeks of effort.


    4.4   Proof-of-Concept Attacks
    For some of the ICX’s vulnerabilities, I prepared proof-of-concept attacks that
    demonstrate how the problems could be exploited by a malicious actor. Such
    proof-of-concept “exploits” are widely recognized in the security field as a means
    of proving that a system suffers from a particular technical flaw. However, they
    are not intended to be exemplars of “weaponized” attacks, such as a sophisticated
    adversary would seek to deploy.
        As such, some of these demonstrations have minor imperfections (such as
    delays or small visual glitches) that a real attacker could remove with moderate
    investments in engineering and testing. I also built the proof-of-concept vote-
    stealing attacks to be demonstrated with a particular election definition, rather
    than to work generally in any election as a real attacker would do. Implementing
    these refinements would not require the discovery of any further vulnerabilities,
    so I chose instead to use my limited resources to analyze additional aspects of
    the equipment.




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    5       Manipulating Ballots via the ICX Printer
    In this section, I show how BMD-printed ballots can be manipulated without
    any malicious modifications to the ICX hardware or software. I first examine the
    structure of the ballot QR codes, show that they are unencrypted, and explain
    how they can be fully decoded. Next, I show that weaknesses in the QR code
    design make it possible to manipulate ballots in spite of a security mechanism
    intended to authenticate the QR codes. Finally, I demonstrate that attackers can
    automatically manipulate ballots cast on the ICX with no access to the BMD
    itself, by instead attacking the attached off-the-shelf laser printer. I show how
    such an attack can be implemented by adding concealed malicious hardware to
    the printer, which could be accomplished as part of a supply-chain attack.

    5.1      Decoding Ballot QR Codes
    Dominion’s documentation claims that the QR codes are encrypted [19, § 2.6.1.1],
    and, at least as recently as January 2021, Secretary of State Chief Operating
    Officer Gabriel Sterling has repeated this claim to the media as a security feature
    of Georgia’s voting system [91]. In actuality, as I testified last year, no part of the
    QR codes is encrypted [40, ¶ 37–40]. While voters have no practical way to read
    or verify the votes encoded in the QR codes, they can be decoded by attackers
    and can be replaced or manipulated to steal voters’ votes.
        Although the QR codes are not encrypted, they use a data format this is
    incompatible with most off-the-shelf barcode reader software. A QR code can
    encode data in several data formats: numeric, alphanumeric, or byte mode [30].
    Byte mode can encode arbitrary data, but QR code readers typically interpret
    the byte sequence as UTF-8 or Latin-1 encoded text. If an application needs
    to represent arbitrary binary data in a QR code, the recommended practice
    for ensuring compatibility is to encode the data using characters available in
    alphanumeric mode (e.g., Base45 encoding) [30]. However, the ICX QR codes
    appear to be designed only for compatibility with Dominion scanners. They
    encode binary data in byte mode, and the data typically begins with a byte
    with value zero. As a result, most QR code reader software either fails to read
    them because the data does not represent valid UTF-8 or Latin-1 characters or
    incorrectly treats the zero byte as the end of a null-terminated string.
        In August 2020, my research group tested reading the ICX QR codes with a
    variety of publicly available barcode reader apps for Android and iOS devices.
    At the time, only one app we tested was able to read them correctly (Scandit
    Barcode Scanner for iOS [73]), and later versions of that same app no longer do.
    Several publicly available programming language libraries for reading QR codes
    had similar compatible problems when used with their default settings. However,
    we found that we could correctly decode the data using recent versions of the
    open-source ZBar barcode reader library by setting the ZBAR CFG BINARY option
    to force the software to emit the data as raw bytes. For example, using ZBar
    version 0.23.90,6 ICX QR codes can be decoded with the command:
        6
            Available at https://github.com/mchehab/zbar/releases/tag/0.23.90.


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          zbarimg --quiet --raw -Sbinary ballot.png | hd
        After extracting the raw data from the QR codes, my research group reverse-
    engineered the binary data format. To do so, we examined Dominion’s ImageCast
    Remote Accessible Vote-By-Mail (RAVBM) software, a web-based app that
    generates a ballot with a similar QR code for printing and returning through the
    mail [24]. (Since ImageCast Remote runs in the voter’s browser, the JavaScript
    source code that it uses to generate the QR codes is publicly visible.) We also
    examined ICX QR codes from publicly available ballot scans from a variety of
    elections and determined that they used the same data format. Through this
    process, we created a computer program (dvsqrtool.py) that interprets and
    unpacks all data fields in the ICX QR code.7
        The decoded data contains the voter’s selections, write-in votes, and ballot
    metadata. No encryption key is necessary to extract this data, which demonstrates
    that the QR code is not encrypted. The data structure represents voter selections
    as a series of binary digits (ones and zeros), as shown in Figure 3. Each digit
    corresponds to one of the available candidates, typically in the same order that
    the contests and choices are displayed on the BMD’s screen or on the equivalent
    hand-marked ballot. A 1 signifies that the candidate was selected, and a 0 signifies
    that the candidate was not selected. Therefore, with knowledge of the ballot
    design, the selected choices can be readily extracted from the QR code.

    5.2    Defeating QR Code Authentication
   Issue: ICX QR codes are not protected against “replay” attacks, so copies of
   valid QR codes will be accepted as genuine.
        As an authentication mechanism, the QR code contains a cryptographic mes-
    sage authentication code (MAC) computed using the HMAC-SHA256 algorithm.
    A MAC is a value (a number) calculated based on an input and a secret key.
    Without knowing the key, it is infeasible to calculate the correct MAC for a
    modified input. In a given election, the ICX and ballot scanner have copies of the
    same key. Whenever an ICX generates a QR code, it uses this key to calculate
    the MAC of the ballot data. When a scanner reads the QR code, it extracts
    the data, repeats the MAC calculation using its copy of the key, and verifies
    that the MAC value it calculated matches the MAC in the QR code. Under the
    assumption that an attacker cannot discover the secret key,8 this arrangement
    allows the scanners to confirm that the data in the QR code really was generated
    by an ICX and was not subsequently modified.9
       7
          This work was completed in connection with my research at the University of Michi-
    gan before Plaintiffs received the Dominion equipment and without use of confidential
    information. Therefore, I consider it to be outside the scope of the Protective Order.
        8
          In fact, the MAC key is not well safeguarded. I show in Section 6.1 that the key
    used throughout a county can be easily extracted from any Poll Worker Card, given
    brief physical access to the card and its PIN. It can also be extracted from an ICX after
    L&A testing by escaping kiosk mode using the techniques in Section 8.
        9
          A MAC is very different cryptographic algorithm than a digital signature, although
    Defendants’ experts have repeatedly confused the two [40, ¶ 37–39]. Both are sometimes


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                                                              3. Interpret data as votes. Line up the digits of
                                                          BallotCardVotes with the ovals on a hand-marked ballot.
                                                           A '1' represents a marked oval and a '0' an unmarked
                                                            one. This reveals that the QR code at right contains
                                                            votes for Trump, Perdue, and Loeffler, as expected.




                                                           1                            0

                                                                                        0
                                                           0
                                                                                        0

                                                           0                            0
         1. Scan ballot with compatible
             QR code reader software.                                                   0
                                                           0
                                                                                        0
    Raw data output:
    00010100000067000000014100000010
    000a0088000804149295524a5400001e                                                    0
    f 6791588bc5d110c893ee3673159a125
    86f 53d57d5d7ab1784ba679bd02ac791                      1                            0

          2. Extract data fields.                          0                            0
      The bytes in blue above, when
                                                           0                            0
     converted to binary digits, are the
       BallotCardVotes field below.                                                     0
                                                           0
     Complete interpreted data:                                                         0
     {
         " QRBal l ot St r uc t ur eVer s i on" : 1,
         " Pol l Key I nI d" : 103,                                                     1
         " Bal l ot Car ds " : [
            {
               " Bal l ot Car dI d" : 65,
               " Bal l ot Car dVot es " :
                    " 100010000000000000001
                      000000010000010100100                   No part of the QR code is encrypted. The MAC
                      100101001010101010010               (Message Authentication Code) is a number calculated
                      0100101001010100" ,
               " Bal l ot Car dWr i t eI ns " : [ ]          from the other data using a secret key on the BMD.
            }
         ],                                                Scanners with the same key can recalculate the MAC
         " MAC" : " 1ef 6791588bc 5d110c 893e              to verify that the QR code was really made by a BMD.
                      e3673159a12586f 53d57d5
                      d7ab1784ba679bd02ac 7"               Yet this cannot distinguish between original QR codes
     }                                                     and copies, or detect data changed by BMD malware.


    Figure 3: Decoding the QR Code. Using the procedure illustrated above, the
    QR code from Fig. 2 can be fully decoded. No secret information is required, be-
    cause the QR code is not encrypted. Although the data includes a MAC, the design
    does not protect against duplicated QR codes or malware running on the BMD.




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       Despite this use of a MAC, attackers can manipulate ICX QR codes through
    several means to alter recorded votes or cast fraudulent votes. The ICX QR code
    design as used in Georgia has a serious weakness: the codes do not contain a serial
    number or other unique identifier, so, for a given ballot design, all QR codes that
    contain identical votes are indistinguishable, including having identical MACs.
    As a consequence, there is no mechanism for detecting duplicate QR codes. This
    enables two important attacks:

    Copying Ballots A copy of a genuine ICX ballot will be indistinguishable from
      a second genuine ICX ballot with the same votes. In tests, the ICP accepted
      ballots copied using an office photocopier (see Section 11.1). This could allow
      a variety of ballot-box stuffing attacks.
    Replay Attacks Although the MAC prevents attackers who do not know the
      secret key from generating new valid QR codes, they can still substitute
      other valid QR codes they have seen before. In a “replay” attack, attackers
      observe genuine printed ballots and save copies of QR codes with votes
      they favor. They then alter ballots with votes they disfavor by replacing
      the QR codes with the ones they have saved. Since the QR codes on the
      altered ballots contain valid MACs, the scanners accept them as genuine, even
      though they are duplicates. I demonstrate this style of attack and discuss
      the implementation details below.


    5.3   Demonstration Hardware-Based Attack

    An attacker can implement a fully-automatic ballot manipulation attack without
    tampering with the ICX itself in any way, by instead targeting the laser printer
    attached to the BMD. Georgia’s BMDs use off-the-shelf HP LaserJet M402dne
    printers connected via a USB cable. Like most modern printers, they contain
    capable embedded computers that run complex, field-updatable software. By
    modifying the printer’s software or hardware—or even by hiding tiny malicious
    hardware in a modified USB cable [38, 60]—an attacker can arbitrarily change
    what the printer prints. This can be employed to alter the ballot QR codes (alone
    or in conjunction with ballot text) and steal votes.
        Since the printer is an off-the-shelf device, it is likely to receive less security
    scrutiny from officials than the ICX, even though attacks on the printer could
    be equally consequential. Attackers could potentially compromise the printers
    at any time during the lifecycle of the voting system, including before they are
    delivered (in the supply chain), while in storage, or during transport to or from
    polling places.
        I developed a proof-of-concept attack to illustrate these risks. It consists of
    hardware hidden by the attacker inside the printer’s housing that manipulates
    used to verify data integrity. For purposes here, the most important difference is that
    anyone who has the key needed to verify a MAC can also forge valid MACs for any
    data they choose. In contrast, the information needed to verify a digital signature can
    be widely distributed or even made public without jeopardizing its security.


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            Figure 4: Demonstration Malicious Hardware. I developed a hardware-based
            attack that modifies data sent from the ICX to the printer, altering ballot QR
            codes to change recorded votes. The attack device (the two red modules seen in
            the right photo) is completely hidden inside the printer’s plastic housing. Similar
            malicious hardware could be added in the supply-chain or while in storage.



            the data sent from the ICX to the printer. I demonstrated an early version of
            the attack during the September 2020 hearing, after having access to the ICX
            for only about one week. To implement the attack, I used a pair of Raspberry Pi
            Zero W devices. These are small (approximately 1 × 2.5 inches), self-contained
            computers with WiFi and Bluetooth radios that are capable of simulating a USB
            device or host system. They are widely available for a cost of about $10.
                In my attack implementation, one Pi Zero receives ballot data via the original
            printer cable that attaches to the BMD; I refer to this device as Pi-Input. The
            second Pi Zero connects to the printer itself and outputs data to be printed; I
            refer to it as Pi-Output. Both run the Linux operating system. A real attacker
            would likely integrate these functions into a single purpose-built hardware device,
            but I needed to split them because the off-the-shelf Pi Zeroes I used each have
            only a single functional USB port. Even when using two Pi Zeroes, the entire
            setup (shown in Figure 4) is small enough to be concealed in the empty space
            within the laser printer’s housing, and it is low-power enough to be operated
            from the printer’s internal power supply.
Redaction       Pi-Input is configured to behave as a USB peripheral
                             and runs software I developed (in/device.py) that simulates the
            printer. When connected to the BMD, the Pi Zero sends USB device descriptors
            and identification strings that match those of the LaserJet M402dne. This makes
            it indistinguishable from the real printer to the BMD’s software. However, when
            the BMD sends data to print, Pi-Input relays that data (over a local wireless
            network) to the second Pi Zero, which proceeds to manipulate it.

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       Pi-Output connects to the real printer and operates as a normal USB host. It
    runs software I wrote (out/prproxy.py) that receives from Pi-Input the data that
    the BMD attempts to print. My software parses the PCL data to extract the QR
    code as a bitmap image, passes it to the zbarimg barcode reader tool to decode
    the QR code data, and uses my dvsqrtool.py tool (discussed in Section 3.2) to
    extract the votes.
       For this attack, I assume that the adversary does not know the secret key
    used to compute the MAC in the QR code. Without this key, the attacker cannot
    modify the data in the QR code, but they can still manipulate votes by performing
    a replay attack, i.e., selectively copying valid QR codes from previously-seen
    ballots. To accomplish this, Pi-Output inspects the votes in each QR code to
    determine whether the attacker’s preferred candidate is selected. Then:
    If the attacker’s candidate is selected, the device passes the ballot to the printer
         unmodified but saves a copy of the QR code to its internal storage.
    Otherwise, the device picks one of the stored QR codes at random and substitutes
       it for the QR code sent by the BMD. Since the stored QR codes contained
       valid MACs, and the system design does not detect duplicated QR codes,
       these copied QR codes will be accepted as valid by the ballot scanner.
    As a result, once at least one ballot has been voted for the attacker’s preferred
    candidate, subsequently printed ballots will contain QR codes that encode votes
    for that candidate.10
        For demonstration purposes, I hard-coded the target contest and favored
    candidate, and I programmed the device to cheat as often as possible.11 In
    practice, an attacker could remotely (e.g., using WiFi or Bluetooth) select the
    fraction of votes to shift and which candidate in which contest should receive them.
    Similarly, the attacker could remotely enable or disable the cheating, thereby
    defeating any pre-election testing. With wireless control, the attack device could
    be installed in the printer once and cheat in any subsequent election.
        Adding hardware to the printer is only one of several ways that attackers
    could manipulate ballots cast using Georgia’s ICX BMDs. An easier and more
    powerful mode of attack would be to modify the software in the ICX itself.
    When I demonstrated the printer attack prototype in September 2020, I testified
    that software-based attacks on the ICX were very likely achievable with further
    analysis. This has proven to be the case. In later sections of this report, I will
    explain how it is possible to construct vote-stealing malware that runs entirely
    in the ICX, and how attackers can infect ICXs with such malware remotely
    throughout entire counties or even the entire state.

       10
          In a realistic attack scenario, the attacker would likely choose to alter only a fraction
    of the ballots, so as to avoid drawing suspicion.
       11
          My proof-of-concept implementation sometimes introduces a spurious delay of up
    to about 20 seconds before the ballot is printed. The most likely cause is a bug in the
    code. Having demonstrated the attack concept, I opted not to spend further resources
    debugging and removing the delay, and instead focused on attacking the ICX software.


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    6   Attacks Against ICX Smart Cards

    Smart cards, such as many modern debit and credit cards, have an embedded
    integrated circuit chip that exchanges data with the card reader. Some smart
    cards are capable of storing secret data securely and performing cryptographic
    operations. Such cards are often used to authenticate identity in high-security
    applications, such as the U.S. Department of Defense (DoD) Common Access
    Card (CAC) that provides access to defense computer networks and systems [16].
        The ICX uses smart cards to authenticate voters, poll workers, and service
    technicians. There are kinds of cards:

    Technician Cards Service technicians are assigned a Technician Card and PIN.
       By inserting the card and entering the correct PIN on the screen, they can
       access the Technical Administrative menu shown in Figure 5a. This menu is
       used before each election to load new election definitions from a USB drive.
       It also allows more sensitive actions, such as exiting the ICX application and
       accessing the underlying Android operating system, from which the ICX’s
       software can be updated or modified.
    Poll Worker Cards Poll workers are assigned a Poll Worker Card and PIN,
       with which they can access the Poll Administration menu shown in Figure 5b.
       This menu allows the poll worker to open the polls using a previously-loaded
       election definition, manually activate a voting session (without use of a Voter
       Card), reset the machine’s public counter, close the polls, or shut down
       the BMD. Poll Worker Cards are specific to each election and contain the
       cryptographic keys necessary to operate the ICX in the election.
    Voter Cards When a voter checks in at a polling place, a poll worker uses an
       electronic poll book to issue them a Voter Card. The voter inserts the Voter
       Card into the ICX to unlock the BMD for a single voting session using the
       voter’s assign ballot style. Upon printing the ballot, the ICX deactivates the
       Voter Card, preventing it from being used again, and the voter returns it to
       a poll worker.

        I examined the communications between the ICX and the smart cards to
    determine the authentication protocol and evaluate its security. While I expected
    the BMD to use a modern cryptographic challenge-response protocol, which
    would render the cards resistant to cloning and forgery, the machine instead uses
    a simplistic and highly insecure protocol. The actual protocol is conceptually
    very similar to the protocol used by the Diebold AccuVote DREs, which also
    used smart cards. The Diebold smart card protocol was shown to be insecure by
    researchers as early as 2003 [53], and its vulnerabilities were documented in detail
    by the California Secretary of State’s Top-to-Bottom Review in 2007 [11]. The
    ICX smart cards used today suffer from essentially all of the same vulnerabilities
    and some serious additional ones.
        All three kinds of ICX smart cards use the same protocol, which is implemented
    as a series of ISO 7816-4 commands:


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      (a) Technical Administration Menu             (b) Poll Administration Menu

    Figure 5: ICX Administration Menus. Unlocking the ICX with a Technician
    Card or a Poll Worker Card provides access to a variety of privileged operations.


     1. The ICX attempts to open a particular file stored on the card, and the card
        responds with whether the file exists. Technician and Poll Worker Cards use
        file ID 0x   , while Voter Cards use file ID 0x     . This allows the ICX to      Redaction
        determine whether a voter card or an administrative card was inserted.
     2. The ICX sends a password to the card to unlock the file. For Technician and
        Poll Worker Cards, the password is a PIN that is entered on-screen by the
        user. For Voter Cards, the ICX automatically sends a preconfigured PIN.
     3. The card checks whether the PIN matches a value stored on the card before
        allowing access to the file. I assume (but did not verify) that the cards lock
        themselves and prevent further use if too many incorrect PINs are attempted.
     4. Once the file is unlocked, the card allows the ICX to read or write to it.

        The file formats for all three types of cards are simple and readily determined
    by inspecting the data. Each file consist of 36 records, each up to 15 bytes long,
    for a maximum length of 540 bytes. Their more relevant features are:

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    Figure 6: Forged ICX Smart Cards. Weaknesses in the ICX authentication pro-
    tocol allow an attacker to read and forge Voter, Technician, and Poll Worker cards.
    I added explicit markings and allowed minor discolorations to minimize any risk
    of misuse, but a real attacker could create nearly indistinguishable counterfeits.


     – Technician Cards: The first record is the value 0. Other records contain the
       user’s name, the date and time that the card was created, and the date and
       time that it expires.
     – Poll Worker Cards: The first record is the value 1. In addition to records
       found on the Technician Card, the file contains all of the election-specific
       cryptographic keys and other secrets that the ICX and scanner use for security:
       the admin PIN, the encryption key and IV, the MAC key, and the Election
       Signature (a secret value that uniquely identifies the election).
     – Voter Cards: Records contain the ballot style, language, and accessibility
       mode, whether the card has been used, the date and time it was activated,
       and the Election Signature value (to prevent the card from being used in a
       different election).
        I determined that an attacker can extract the data from all three kinds of
    cards, as well as create counterfeit cards (shown in Figure 6). In the sections that
    follow, I explain how these capabilities could be used for a variety of attacks.

    6.1   Extracting Election Secrets from Poll Worker Cards
   Issue: Anyone with access to a single Poll Worker Card and the corresponding
   PIN can easily extract secret keys and other values used for securing election
   data throughout the county.
       The ICX smart card protocol does not authenticate the device reading the
    card. As a result, anyone with the correct PIN can read the data on the card in a


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   few seconds by simply following the protocol. I created a simple Python program
   (cardutil.py) that uses a commodity USB smart card reader and mimics the
   ICX’s behavior, allowing us to extract the contents of the cards provided by
   Fulton County.
       This weakness causes a serious information exposure vulnerability due to the
   cryptographic secrets stored on Poll Worker Cards. With access to the encryption
   and MAC keys from the Poll Worker Card, an attacker could decrypt or alter
   the ballot definitions used by the scanners and BMDs, forge ballot QR codes, or
   decrypt or modify election results on scanner memory cards before the results
   are returned to the EMS for reporting.
       Poll Worker Cards and PINs are distributed to every polling place and
   entrusted to thousands of volunteer poll workers across the state during every
   major election. It would be practically impossible to ensure that none of these
   cards could be temporarily accessed by a malicious party.
       County election databases from the November 2020 and January 2021 elections
   shows that Georgia counties use the same cryptographic keys county-wide for
   each election. This means that if a single Poll Worker Card and PIN anywhere
   in a county is temporarily accessed by an attacker, the attacker can easily obtain
   the keys necessary to compromise election data throughout the county.
       To make matters worse, if a county suspected that its keys had been compro-
   mised, the only way to change them would be to load new election definitions
   into every ICX and ICP in the county. Doing so would likely take days or longer
   and might necessitate repeating logic and accuracy testing on every device.
       There problems are the result of an extremely dangerous approach to crypto-
   graphic design. Best practice calls for avoiding sharing keys widely over multiple
   devices or authentication tokens, so as to prevent the compromise of any one
   device or authentication token from compromising them all.


    6.2   Forging Technician Cards to Install Malware on any ICX

   Issue: Anyone can create forged Technician Cards without using any secret
   information. Such cards could be used to access any ICX’s Android operating
   system and the ability to install malware.
        Although Technician Cards allow the user to access highly sensitive functions
    of the BMD, the ICX protocol does not authenticate them using any secret values.
    This makes it possible to create a forged Technician Card without knowledge of
    any passwords, PINs, or secret keys.
        To create forged technician cards, I used the Java Card platform. A Java
    Card is a smart card that can execute small software applications written in the
    Java programming language, allowing it to emulate the behavior of other smart
    cards. I used                  Java Cards, which are commercially available for Redaction
    less than $10 each                                                                  Redaction
        I programmed a Java Card as follows. No matter what file ID the machine
    requests, the card always reports that it is present. (The first request is usually
    for an administrative card, so the attacker does not need to know what the real

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    Figure 7: Forged Technician Card. Technician Cards can be forged without
    using any secret information. The self-created card can be used to unlock any
    ICX in Georgia (and likely those in other jurisdictions) and install malicious
    software.


    file ID is.) To unlock the file, it accepts any password, so the user can enter any
    PIN. The card then returns a file that is completely empty, with every record
    consisting of zeroes. Remarkably, the ICX accepts the card as if it were a genuine
    Technician Card.
         ICX Technician Cards are not restricted to a particular election or a particular
    jurisdiction. Consequently, the forged Technician Cards I created will work in
    any ICX across the State of Georgia, and likely in any other jurisdiction that
    uses a compatible version of the machine.
         After forging a Technician Card, an attacker with physical access to a BMD
    can exit the ICX application and access the underlying Android operating system.
    With this access, the attacker can arbitrarily change the BMD’s configuration,
    alter audit logs, or install malicious software.


    6.3   Creating “Infinite” Voter Cards

    Issue: Voters can clone Voter Cards or create “infinite” Voter Cards that allow
    printing an unlimited number of ballots of any available ballot style.


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        Forging Voter Cards requires additional steps compared to forging a Technician
    Card, because the BMD will only accept Voter Cards that contain the correct
    Election Signature, a secret value specific to the current election and county. An
    attacker could obtain the Election Signature by several means, such as the attack
    in Section 6.1, but I developed an attack method that requires only the level of
    access of an ordinary voter:
     1. The voter enters the polling place and is issued a real Voter Card,12 which
        contains the Election Signature. However, the voter cannot read the card
        without the election-specific Voter Card PIN.
     2. To obtain the PIN, the voter inserts a specially programmed Java Card into
        any BMD in the polling place. I programmed a Java Card to mimic the initial
        steps of the ICX protocol. It reports that file ID 0x     is present, which         Redaction
        causes the ICX to send the card the Voter Card PIN to unlock the file. The
        Java Card records the PIN in its internal memory and reports that it was
        invalid, causing the BMD to reject the card.
     3. The voter uses a smart card reader to read the Voter Card PIN from the Java
        Card. They then insert the real Voter Card into the reader and use the PIN
        to extract its contents (as in Section 6.1), including the Election Signature.
     4. Finally, the voter creates a forged Voter Card by loading the data into a
        second Java Card, using a process similar to the attack in Section 6.2.

        These steps can be completely automated, so that the attacker need only
    insert the three cards into the reader for a few seconds each. An attacker in
    the polling place could use a battery-powered Raspberry Pi and card reader
    concealed on their person. Alternatively, they could smuggle the real Voter Card
    out of the polling place and prepare the forged card elsewhere.
        When creating the forged card, the attacker can modify its data or behavior.
    For instance, the attacker can change the ballot style identifier to cause the BMD
    to print a ballot for a jurisdiction in which they are not eligible to vote.
        An attacker can also create an “infinite” Voter Card that does not deactivate
    after the ballot is printed, allowing it to be used arbitrarily many times. Normally,
    the BMD deactivates voter cards by writing a value to a particular record on
    the card. To circumvent this, I programmed a Java Card to ignore these write
    operations and leave the card in an activated state, allowing it to be used
    indefinitely. An attacker and their accomplices could use an “infinite” Voter Card
    to each vote multiple ballots, although there is a risk that poll workers would
    notice someone printing or scanning more than one ballot in a voting session.
        I previously demonstrated a similar infinite voter card attack against Georgia’s
    old AccuVote DREs. The attack was more complicated to carry out against the
    DREs than against the BMDs, since the DREs verified that the card had been
    deactivated before returning it to the voter. The ICX does not even perform this
    basic check.
      12
         Fulton County did not provide a Voter Card as part of the equipment. However, I
    was able to construct a working counterfeit Voter Card through reverse engineering.


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    7     Constructing ICX Malware

    From an attacker’s perspective, the most powerful position from which to manip-
    ulate votes is by using malicious software (malware) installed on polling place
    equipment. Georgia’s ICX BMDs are highly vulnerable to malware-based attacks.
    This report describes numerous ways that an attackers can install malware on the
    machines, either with physical access (Section 8) or remotely (Section 9). Once
    malware is installed by any of these routes, other weaknesses in the ICX give the
    attacker complete control over the behavior of the machine and the ability to
    conceal the malware’s presence very effectively.
        In this section, I explain how an attacker can create malware for the ICX
    that, once installed by any of the methods described elsewhere in this report,
    manipulates printed ballots to steal votes. I explain how such malware can defeat
    the technical and procedural safeguards applied in Georgia, including logic and
    accuracy testing (LAT), firmware validation, and hash verification practices. I
    also present working proof-of-concept malware that demonstrates these attacks.
        As I explain in Sections 8.3 and 9.3, the ICX is subject to multiple means
    of privilege escalation, which allow attackers to obtain “root access”, i.e., full
    control of the device. Such access provides a variety of means by which attackers
    can modify the system’s behavior to introduce malicious functionality, including
    modifying the operating system, intercepting system calls, patching the appli-
    cation in memory, and modifying stored data, among others. Malware could
    potentially utilize any of these means to manipulate ballots cast on the ICX.
    However, I will describe and demonstrate a different technique that is simple and
    effective: directly modifying the ICX Android application.


    7.1   Overview of the Approach

   Issue: The ICX does not require that applications be signed by a trusted source,
   allowing the installation of arbitrary APKs.
       The ICX’s election functionality is implemented as an Android application
   (the “ICP App”) that is automatically launched when the device powers on. The
   ICX App is technically very similar to a smartphone app that a consumer would
   download from an app store, except that it is either pre-installed at the factory
   or manually installed as a software update in the form of an Android application
   package (APK). The actual APK filename can vary, but for simplicity I will refer
   to it as ICX.apk.
       Widely-available software tools allow an attacker who can obtain a copy of
   the APK to quickly reverse-engineer its functionality and add arbitrarily-complex
   malicious logic. By this method, an attacker can alter the original APK to generate
   a new APK that appears identical to users but contains malicious behavior. This
   malicious app can simply be installed in place of the real software. Once installed,
   the modified APK has access to all of the same data, cryptographic secrets, and
   device capabilities as the original app, making possible a very wide range of
   attack payloads.


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        The Android platform requires every APK to be digitally signed by the soft-
    ware developer. Dominion could have used digital signatures to limit installation
    of apps to those signed by the company, which would complicate attempts to
    install a maliciously modified app. However, my tests show that the ICX does not
    verify the identity of the signing party. It allows the installation of APKs created,
    compiled, and signed by anyone. Consequently, APK code signing present no
    obstacle to installing malware on the ICX.

    7.2   Obtaining the Real APK
   Issue: The ICX App’s APK can be easily extracted given only brief, one-time
   access to a single BMD.
         In order to modify the ICX App, the attacker must first obtain a copy of the
    original software. This is easy to accomplish, given temporary physical access
    to an ICX. For this investigation, I copied the APK to a USB stick by using a
   Technician Card to access the Technical Administration menu and pressing the
   “Export apps” button, shown in Figure 5a.
         For an attacker to do this, they would only need access a single ICX once for
    a few minutes. (As explained in Section 6.2, anyone can forge a Technician Card
    that will work in all ICXs, so access to a genuine Technician Card and PIN is not
    necessary.) Such access could potentially be gained with the help of an insider
    accomplice, or by breaching physical security at any point in the equipment’s
    lifecycle: before it is delivered to the state, while it is in storage, while it is being
    set up and tested before an election, during transport to or from a polling place,
    or potentially while in use at a polling place.
         Although Georgia uses physical security measures to make such access more
    difficult, these measures are imperfect (see Section 11.3), and it is implausible that
    they could prevent a determined attacker from ever accessing even a single device.
    Brief, one-time access to any one of the tens-of-thousands of BMDs used across
    Georgia would be sufficient—or to a machine from any of the many other states
    and local jurisdictions that use the same Dominion BMDs and software version
    for accessible voting. The physical security procedures for election equipment
   vary from jurisdiction to jurisdiction, and Georgia cannot ensure that ICXes used
    elsewhere are well protected.
         Alternatively, an attacker could obtain a copy of the ICX.apk file used to up-
    date the ICX software, such as the update that Georgia installed in October 2020.
   The software update process involves distributing the file to all counties, copying
    it to hundreds or thousands of USB sticks (which are necessarily unencrypted),
    and having workers insert them into every BMD. An attacker who obtained a
    copy of any one of these USB sticks would have all the necessary information to
    create working ICX malware.

    7.3   Decompiling and Reverse-Engineering
    Having obtained the ICX.apk file, the next step is to reverse-engineering it to
    understand the functionality and how to modify it. This can be accomplished


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            by using the publicly available apktool software [46] to disassemble the original
            APK and translate the code into “smali” [52], an annotated, human-readable rep-
            resentation of the Dalvik bytecode used by Android. Although reverse-engineering
            the APK file is more labor-intensive than working with the original software
            source code, the APK file is likely to be more readily available to a wider range
            of potential attackers.
                Based on my experiences developing similar malware for both Georgia’s DREs
            and its new BMD system, I can compare the difficulty of attacking both types
            of equipment. Qualitatively, reverse-engineering the ICX app was much easier
            than reverse-engineering the software used in the AccuVote DREs [31]. The
            DREs ran Windows CE applications that were compiled into native code for
            SuperH and ARM processors. Unlike this native machine code, the Android Java
            bytecode as used in the ICX includes package, type, variable-name, and other
            information that makes it much easier for an analyst to interpret what the code
            is doing. The manual effort required to reverse-engineer it was significantly less
            than I expected, making it possible to alter the ICX App’s functionality with
            relative ease. Quantitatively, reverse-engineering the app and developing basic
            proof-of-concept malware required approximately 25 hours of effort. This is far
            less effort than was required when I reverse-engineered the AccuVote DRE and
            developed similar malware in 2007. For these reasons, I conclude that malware is
            easier to create for the ICX system than it was for Georgia’s old DRE system.


            7.4      Modifying the ICX App to Change Votes

            Due to the structure of Android applications, it is relatively straightforward to
            make arbitrary changes to the ICX App’s behavior. We used Java, a high-level
            programming language, to implement demonstration malicious functionality as
            a Java package. Using a high-level programming language is much less labor
            intensive than writing the malicious logic in low-level bytecode. We compiled
            the Java package into low-level smali instructions using the publicly available
            java2smali software tool [51] and inserted the smali files into the disassembled
            APK’s file structure. This arrangement allows the new code to be invoked with
            only small, targeted changes to the original app’s code.
                For example, in my demonstration malware, one place where such malicious
            logic is injected is in the code that generates the QR code for printing. Through
            reverse engineering, we located the existing code that constructs the vote data
            that will be encoded in the QR code. Changing just two bytecode instructions in
            this function13 causes it to pass the data to a function in the new Java package,
            giving the malicious logic an opportunity to change the data before the QR code
            is produced.
                As a simple demonstration, I implemented malicious logic that modifies the
            QR code so that the vote recorded for a specific “Yes or No” contest is always
            “No”. The logic clears the “No” bit and sets the “Yes” bit for a specific byte
              13
Redaction          Specifically, the function



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    within the data representation (see Figure 3) and returns the modified data to
    the original logic to be packaged into the QR code and printed. The result is
    that the data in the QR code—and the vote counted by the scanner—reflects a
    fraudulent choice I control, rather than the voter’s intended selection.
        An attacker could, of course, implement different or more complex logic
    to determine when and how to cheat. Malware on the ICX has access to the
    complete ballot design, and could be programmed to cheat in favor of candidates
    from a specific party, in contests for a particular office, or in particular kinds of
    elections. For example, it could always favor one party’s candidate in U.S. House
    races during general elections. An attacker also could choose to change only
    the QR code or both the QR code and the human-readable text. Malware with
    such variations could be constructed in the same manner as the proof-of-concept
    malware described here.


    7.5   Defeating Applicable Defenses

    Malware running on the ICX can defeat the various technical and procedural
    defenses that the Dominion system and the State of Georgia currently employ.
    Defeating Logic and Accuracy Testing In logic and accuracy testing (LAT),
    workers cast a small number of votes with known selections, then check whether
    the voting system’s output reflects the correct totals. This form of testing is
    designed to detect errors in the ballot design or counting logic. It can be easily
    defeated by ICX malware.
        Georgia’s LAT procedures (Exhibit B) involve only minimal testing of the
    ICXs. Only a single test ballot per ICX is required to be printed. To avoid
    detection, the demonstration malware simply tracks how many ballots have
    been printed since the machine was turned on and skips cheating on the first
    n ballots (for an attacker-configuration number). If Georgia were to improve its
    LAT process by testing with a greater number of ballots, attackers could simply
    increase the number of ballots the malware skipped accordingly.
        Even if the state adopted a much more complex LAT procedure, so long as
    the testing process was publicly documented, attackers could design malware to
    maximize cheating while minimizing the probability of getting caught. Much as
    Volkswagen’s emission systems were famously designed to detect that they were
    being tested by the EPA and to only cheat while not under test [84], ICX malware
    can be programmed to detect and circumvent LAT. For example, malware could
    be programmed to only cheat on the day of the election, or only during specific
    hours on that day. It could also be programmed to monitor how the machine was
    used and to only start cheating if the rate of voting, pattern of votes, number of
    corrected mistakes, and other characteristics matched the expected behavior of
    real voters. No practical method of pre-election or parallel testing can rule out
    malware-based fraud [80].
    Defeating the QR Code MAC Although the QR code contains a cryp-
    tographic message authentication code (MAC) that scanners use to verify its
    integrity (as explained in Section 5.2), this poses no obstacle to ICX malware.


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            Figure 8: Defeating Hash Validation. The ICX App displays the SHA-256
            hash of its APK on the screen, as shown here. However, this behavior is controlled
            by the app itself, so a maliciously modified app can simply show the expected
            hash value instead of its real one, thereby avoiding detection.



            The demonstration malware changes vote data before the app computes the
            MAC. This allows such malware to add, remove, change, or spoil votes in the
            QR code while ensuring that the MAC remains valid. Alternatively, since the
            secret key used to generate the MAC is necessarily accessible to the ICX App,
            malicious logic in a modified app could use the key to generate valid MACs itself.
            Defeating APK Hash Validation As shown in Figure 8, the ICX can display
            the SHA-256 hash of the installed APK on its screen, supposedly allowing both
            election officials and voters to confirm what software is running. However, much
            like the QR code MAC, this hash value is computed by the ICX App itself and
            can therefore be trivially defeated by malicious logic added to the app.
                In the demonstration malware, we identified the code that computes and
            displays the hash,14 and modified it to simply replace the computed hash value
            with the hash of the unmodified APK. This ensures that the ICX always displays
            the official APK’s hash even though it is running a maliciously modified APK.

              14
Redaction          Within the function



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    Defeating External APK Validation As described in Section 7.2, the ICX
    App contains functionality to export the currently installed APK to a USB stick
    for verification. Once the APK file has been exported, its hash can be securely
    computed using a trusted, external device. Exhibit C shows that this was the
    method used by Pro V&V used in November 2020 to validate the software on a
    small number of ICXs in six Georgia counties.
         A malicious ICX App can easily defeat this safeguard, too, because the export
    process is performed by the app itself. Just as the modified app can display the
    hash of the original APK, it can also export the original APK file instead of
    its own. To accomplish this, we store a copy of the original APK and modify
    part of the export code15 to change the location from which the exported APK
    file is copied to be the location of the original APK. Since the exported APK is
    identical to the original APK, any hash validation or forensic analysis of it will
    fail to detect the malware, including the kind of analysis Pro V&V performed.

    Defeating Voter Verification and Auditing As discussed in Section 3.2,
    voters have no practical way to verify the contents of the QR codes. Since the
    scanners read only the QR codes, and the voter can only review the printed text,
    there is no way for voters to verify the portion of their ballots that is actually
    tallied. Therefore, attacks that change the QR code and leave the human-readable
    portion of the ballot unmodified would almost certainly not be detected by voters.
        In principle, election officials could verify the QR codes by decoding them
    and comparing the output to the text on the ballots. To our knowledge, no
    jurisdiction has ever done so, and Georgia has announced no plans to do so.
        A rigorous risk-limiting audit (RLA) would also be likely to detect an attack
    that changed only the QR codes, if the attack changed sufficiently many votes
    to alter the outcome of the contest targeted by the audit. However, Georgia
    regulations call for an RLA only in the November election of even-numbered
    years, and only targeting a single, state-wide contest chosen by the Secretary
    of State [69]. Therefore, such cheating likely would not be detected in the vast
    majority of elections and contests.
        As discussed in Section 5, attackers could also choose to cheat by changing
    both the QR codes and the human-readable text on a small fraction of ballots,
    such that both reflected the same fraudulent choices. This would be completely
    undetectable by an RLA or a hand count. Although, in principle, voters might
    notice that the printed ballots were wrong, human-subjects research indicates
    that only a small fraction of voters verify their ballots closely enough to notice
    such errors [9, 54]. As a result, when vulnerable BMDs are used for all in-person
    voting, as in Georgia, malware could alter enough votes to change the outcome
    of a close race while likely triggering too few voter complaints to alert election
    officials that there was a systemic problem [9].


      15
           The function                                                           .        Redaction


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    7.6   Conclusions

    I have demonstrated how it is possible to create a malicious version of the ICX
    App that selectively alters ballot QR codes to steal votes and favor an attacker’s
    preferred candidate.
        I have also demonstrated that such malware can take steps to effectively defeat
    Georgia’s procedural defenses. Once installed on an ICX, the proof-of-concept
    malware I created would not be detected by the state’s logic and accuracy testing,
    hash checking, and APK validation procedures. Even a post-election forensic
    audit, if conducted using the methodology that Pro V&V applied following the
    November election, would not detect well designed malware.
        Although cheating by malware that changed only ballot QR codes could be
    detected by a rigorous risk-limiting audit if the malware altered enough votes to
    change the outcome of the contest targeted by the audit, the vast majority of
    elections and contests in Georgia (even high-profile ones) are not audited at all.
    Even in contests that are subject to an RLA, malware that changed both the QR
    codes and the ballot text could likely avoid detection while changing individual
    votes and the outcome of a close race.
        While I have created a concrete example of BMD malware as a proof-of-
    concept, numerous variations are possible, both in terms of the technical means
    by which the malware affected the ICX’s operation and the specific effects. Many
    of these variations could accomplish the same result: stealthily changing Georgia
    citizens’ votes.




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    8     Installing Malware Locally

    An attacker who has access to an ICX BMD has multiple ways to install malicious
    software, such as the vote-stealing malware described in Section 7. In this section,
    I describe three separate techniques for accomplishing this that I have successfully
    tested with the ICX from Fulton County.
        These techniques do not require any secret passwords, PINs, or keys, nor does
    the attacker have to open the device’s chassis or break any tamper-evident seals.
    They only need physical access to the BMD for a few minutes. Attackers could
    gain such access before machines are delivered from the manufacturer, while
    they are in storage, while they are being prepared for use in an election, or at
    the polling place. As I will show, malware could potentially even be installed by
    regular voters, without any special level of access or technical skill.


    8.1   Attaching USB Devices to the ICX

   Issue: The ICX fails to adequately restrict the kinds of devices that can be
   attached to its USB ports, including the externally exposed USB cable that
   connects to the printer.
        The malware installation techniques described here involve attaching USB
    devices to the ICX. The machine has several external USB ports behind plastic
    doors on the rear of its enclosure. One of the USB ports is used to attach a cable
    that connects to the printer. They are also used to attach USB drives from which
    election definition files and occasional software updates are loaded.
        Dominion could have designed the ICX to limit the kinds of devices that are
    allowed to attach to each USB port—i.e., by allowing only specific models of
    printers to communicate with the port used for the printer, and only specific
    models of USB drives to connect to the port used for loading data. Instead, all
    of the exposed USB ports can be used interchangeably, and there do not appear
    to be any technical restrictions on the devices that may be connected.
        I understand that Georgia requires the USB port doors to be closed and
    secured with tamper-evident seals while the machine is in use at a polling place.
    The kinds of tamper-evident seals typically used in election systems are known to
    be easily bypassed using commonly available tools [7]. However, this is unnecessary
    for the attacks described here, because the seals present no practical obstacle to
    connecting new USB devices.
        Figure 9 shows how the ICX is deployed in polling places in Fulton County
    and other Georgia localities. The USB cables that attach two printers to a pair of
    BMDs are visible. Observe that the ends of the cables that attach to the back of
    the printers are not sealed to the printers. It would be possible for voters to reach
    behind the printers and disconnect the cables without leaving physical evidence.
        Using an inexpensive adapter, a USB drive or other device can be attached
    to the end of the cable, and it will function as if it was plugged in directly to the
    BMD’s USB port. An example of this arrangement is shown in Figure 10.


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                   Unsealed USB cables
                    (attached to BMDs)




   Figure 9: ICX USB Interfaces are Exposed to Voters and Unsealed. A
   USB cable connects the BMD to an off-the-shelf laser printer. At polling places,
   the end of the cable attached to the printer is physically accessible to voters, and
   it is not protected by a tamper-evident seal. Voters could install malware on the
   ICX by attaching a device to the end of this cable. Photograph taken by Harri
   Hursti during polling place observation in Fulton County, November 3, 2020.



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                 Cable from USB     $2 USB Type-B to        USB cable to BMD,
                    keyboard         Type-A adapter      disconnected from printer




    Figure 10: Attaching a USB Device to the ICX via the Printer Cable.
    The BMD’s USB cable is not sealed to the printer, and voters can simply reach
    behind the printer and disconnect it. Using an inexpensive and widely available
    adapter, any standard USB device (such as the keyboard shown here) can attach
    to the end of the cable and operate as if it were plugged in directly to the ICX.


    8.2   “Escaping” the ICX App

   Issue: As a result of Georgia’s installation of a software update in October 2020,
   the ICX’s Android operating system settings can be accessed by attaching a USB
   keyboard, allowing the installation of malware.

        In October 2020, shortly before the start of early voting in the November
    election, Georgia installed a purportedly de minimis software update on its
    BMDs to correct a user-interface glitch. In support of Plaintiffs’ opposition to this
    change, I testified that “in complex computerized systems like Georgia’s election
    equipment, last-minute changes, even seemingly small ones, can introduce serious
    and difficult-to-foresee consequences” [41, ¶ 5]. I drew an analogy to the Boeing
    737 MAX aircraft, where a small, last-minute change to correct a single problem
    inadvertently created a much more dangerous failure mode that reportedly led
    to two fatal crashes [56].
        My testing shows that installing the ICX software update did indeed create
    a dangerous security problem. It left the BMDs in a state where anyone with
    physical access, including non-technical voters, could install malicious software.
        The problem relates to the method by which the Android operating system on
    the ICX is “locked down”. When Android is used on consumer devices like phones
    and tablets, users can open any installed app, switch between apps, and access the
    Android Settings app, which allows the installation of new software and changes
    to security-critical settings. If Android is used for building special-purpose devices
    that serve the public (often referred to as “kiosks”), the manufacturer needs to
    take steps to restrict access to these functions, usually by preventing unauthorized
    users from leaving a particular app that provides the device’s user interface.


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        Recent versions of Android provide a “dedicated devices” programming inter-
    faces that device makers can use to securely lock down the operating system [4].
    However, instead of using such an API, the ICX takes an ad hoc approach. It
    sets the ICX App as the system’s “launcher”, i.e., the app that provides the user
    interface for the device’s “home screen” or “desktop” [18]. This ensures that the
    ICX App is automatically started when the device powers on, and it prevents
    users from directly launching other apps via the normal launcher interface.
        This approach has dangerous limitations. Making the ICX App the launcher
    does not block users from switching to other apps. One way in which users
    can still switch to other apps is by attaching a USB keyboard and pressing the
    Alt+Tab key combination, which cycles through apps in the Android Overview
    screen16 [1]. This keyboard shortcut does not allow the user to switch to any
    app installed on the device, but rather only to an app that has previously been
    started. In the version of Android installed on the ICX, apps are added to the
    Overview screen whenever they are used, and they remain accessible via Alt+Tab
    even after the device is rebooted, unless they are explicitly removed through the
    Overview interface [5, 90].
        There would not be a problem if other apps had not previously been used, or if
    they had been properly removed. However, crucially, Dominion’s 40-step process
    for installing the ICX software update (Exhibit A) used two sensitive apps, File
    Manager and Settings, and neglected to remove them from the Overview screen.
    This means these apps are accessible through the use of a keyboard on any BMD
    where the software was updated according to Dominion’s instructions. It is a
    reasonable inference that the instructions were not subjected to rigorous security
    testing before use, since the update was installed on BMDs across Georgia only
    days after being created.
        To prevent these apps from being accessible, it would have been necessary to
    perform a process like this after installing the update:
     1. Use the “Toggle” button at the bottom of the screen to enable the Android
        navigation controls, confirm the change, and click OK to reboot the ICX.
     2. Launch Android Settings from the Technical Administration menu.
     3. Press the “Toggle” button again and press OK to confirm, but do not
        immediately reboot.
     4. Press the square App Overview button at the bottom of the screen.
     5. Swipe right on the pictures of every previously opened app to remove them
        from the Overview screen. Once all are closed, the ICX App will reappear.
     6. Power off the device.
    This would prevent the Alt+Tab vulnerability, but Dominion’s instructions
    included no such steps. Instead, testing shows that after completing the update,
    the Settings and File Manager apps remain perpetually available through use of
    a keyboard, even after the device is powered off and on again multiple times. As
    I describe below, attackers can exploit ICXs in this vulnerable state to install
    malicious software.
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         This key combination switches between previously started apps, just like Alt+Tab
    on Windows and Command+Tab on macOS switch between open windows.


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    Figure 11: The ICX has a pre-installed Terminal Emulator app that provides
    access to a Linux command-line interface. Simply by confirming an on-screen
    prompt (left), the user can obtain “root” access (right), allowing subsequent
    commands to bypass Android’s access control and privilege separation defenses.


    8.3   Accessing a Root Shell via the Built-In Terminal App

   Issue: The ICX has a built-in Terminal Emulator app that is configured so that
   the user can easily obtain a command-line shell with supervisory privileges.
        After escaping kiosk mode, an attacker can easily launch any app installed
    on the ICX. The machine contains 20 pre-installed apps, most of which appear
    unnecessary for its use as a BMD. Most notably, there is a Terminal Emulator
    that provides access to a Linux shell, a powerful text-based user interface.
        Moreover, the ICX is configured such that the Terminal Emulator user can
    easily obtain supervisory (“root”) access privileges by simply selecting “Allow”
    at an on-screen prompt, shown in Figure 11. With root privileges, terminal
    commands can completely bypass the Android operating system’s access control
    restrictions and make arbitrary changes to the device’s data and software.
        The Terminal Emulator made analysis of the device much more efficient, since
    I was able to easily access, control, and modify any part of the data or software. It
    also makes it easy for an attacker to install programs or run automated commands
    for malicious purposes.


    8.4   Manual Malware Installation Process

    I will now walk through a process that exploits the vulnerable state of the BMD
    to install malware. This involves the attacker attaching a USB keyboard and
    then a USB thumb drive to the machine, as described in Section 8.1. These
    manual steps are relatively cumbersome and time-consuming, and they would
    be impractical to carry out in the polling place, but I describe them here for
    expository purposes. I will later show how the entire process can be automated,
    so that the attacker need only briefly attach a single USB device.
    Preparing for Installation The attacker attaches a standard USB keyboard
    to the BMD, by attaching it to the end of the exposed printer cable through a
    USB adapter, as shown in Figure 10. By pressing Alt+Tab, the attacker switches


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    from the ICX App to the Android Settings app, from which they can access
    the Terminal Emulator. From there, the attacker escalates to root privileges by
    typing the su command and confirming the on-screen prompt shown in Figure 11.
    They then use Linux shell commands to copy the APK of the installed ICX App
    to a temporary location, so that the malware can export it for verification, and
    to copy any election definition files stored by the ICX App to a location where
    the malware can access them.
    Installing Malicious App Next, the attacker returns to Android Setting,
    then disconnects the USB keyboard and connects a USB drive containing the
    installation file for a malicious modified ICX App like the one created in Section 7.
    Using Android Settings, the attacker uninstalls the original ICX App, enables
    a configuration setting to “[a]llow installation of apps from unknown sources”,
    installs the malicious ICX App from the USB drive, then disables the configuration
    setting, all in a manner similar to Dominion’s official software update instructions.
    Post-Installation Clean Up Finally, the attacker reattaches the USB key-
    board and uses the terminal to clean up traces from the installation process and
    to restore the previously-saved election definition files to their original location in
    the now-malicious ICX App’s storage hierarchy.17 The attacker then disconnects
    the USB keyboard and launches the malicious app. The BMD appears to function
    normally, but the maliciously modified software can tamper with printed ballots
    to steal votes.

    8.5   Automating Malware Installation
    The process described above can be completely automated, so that an attacker
    can install malware by attaching a single USB device to the exposed printer cable
    for less than two minutes. The automated process is simple and fast enough that
    it could potentially be carried out by a voter in the polling place.
        To automate the attack, I used a device called a “Bash Bunny”, which is
    commercially available for less than $100 [37]. A widely-used tool for penetra-
    tion testing, the Bash Bunny (shown in my hand in Figure 12) looks similar
    to a typical USB thumb drive, but it acts simultaneously as a USB storage
    device and a simulated keyboard. Once attached to a target machine, it sends
    a pre-programmed sequence of keystrokes to execute the attacker’s objectives.
    I prepared the Bash Bunny by copying the malicious APK to its USB storage
    and programming it to send keystrokes that carry out the installation process,
    following a sequence of operations similar to those in Section 8.4.
        Once the Bash Bunny is programmed, launching the attack requires no
    technical skills. A voter could do so by following simple directions like these:
     1. Take a pre-programmed Bash Bunny and a USB adapter to a polling place.
        Check in normally, then select an out-of-the-way BMD with a screen that is
        difficult for poll workers to observe.
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          In fact, the malicious app has the ability to execute commands with root privileges
    itself, as described in Section 9.3, so these steps could also be executed automatically
    by the malware once it was installed.


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    Figure 12: Installing Malware in the Polling Place. An attacker can install
    vote-stealing malware on the ICX by attaching a small USB device for under
    two minutes. This sequence shows me reaching behind the printer, unplugging
    the cable that leads to the BMD, and connecting the device to the end of the
    cable. This can be accomplished in seconds and does not require breaking any
    tamper-evident seals. It could potentially be carried out surreptitiously by a voter.


     2. With one hand, reach behind the printer and unplug the USB cable. Attach
        the Bash Bunny to the end of the cable (as shown in Figure 12), and leave it
        out-of-sight behind the printer.
     3. Stand in front of the BMD and pretend to vote, carefully blocking the screen.
        Wait until the process completes (less than two minutes).
     4. Discreetly unplug the Bash Bunny and reconnect the cable to the printer.
     5. On the BMD screen, tap the icon that says “ImageCast X”.
     6. Quickly proceed to print your ballot, then scan it like any other voter.
       Of course, an attack at a polling place might be more likely to be detected
   (depending on the circumstances) than an attack conducted in a non-public
   setting. Similar steps, but with less need for subterfuge, could be used by election
   workers or outsiders who had brief private access to BMDs.

    8.6   Local Malware Installation using a Forged Technician Card
    While the attack method demonstrated above exploits the vulnerability created
    when the October 2020 software update was installed, there are also other means


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    of installing malware. One is to use a forged Technician Card created using the
    technique described in Section 6.2, which requires no secret passwords, keys, or
    PINs, but only a widely available $10 Java Card with some simple programming.
        By inserting a forged Technician Card like the one I created, the attacker can
    access the Technical Administration menu, exit the ICX App, and then proceed
    to install malware using essentially the same on-screen process that is used to
    install official software updates. As before, a Bash Bunny could be programmed
    to automate the necessary steps, so that malware installation could be performed
    quickly by anyone with brief physical access to an ICX.

    8.7   Local Malware Installation via Android Safe Mode
   Issue: A local user can reboot the ICX into “Safe Mode”, allowing full control
   of the Android operating system.
        A third method for installing malware is to exploit a publicly known security
    flaw in the ICX. According to a Dominion customer advisory dated January 2020,
   “[i]f the mechanical power button (behind the ICX door) is pressed a power down
    option is presented. At this point, if the power down screen button is pressed
    and held, the ‘safe mode’ option is presented” [22].
        I tested this behavior on the ICX. As shown in Figure 13, holding the power
    button and selecting “Reboot to safe mode” will cause the BMD to restart with
    the standard Android Launcher available, providing unrestricted control of the
    device, including access to the Android Settings, File Manager, and Terminal
    Emulator apps and the ability to install or remove software.




    Figure 13: Rebooting the ICX into Safe Mode. Left to right: (1) The ICX
    power button is located behind a plastic door on the side of the machine; (2)
    Even with the door closed, an opening for cables allows the button to be pressed
    by inserting a metal tool; (3) Holding the button causes the machine to show
    a “Reboot to safe mode” prompt; (4) When the machine reboots, the user has
    unrestricted access to Android, including the ability to install malware.


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        “Safe mode” is an Android feature that is intended for use in recovering from
    software issues [36]. If the ICX used a more recent version of Android, Dominion
    could have easily disabled it with the DISALLOW SAFE BOOT setting introduced
    in Android 6.0 in 2015 [6]. Instead, Dominion advises that “[i]t is imperative
    that safety seals be used on the doors on the back side of the ICX to prevent
    unauthorized access to the mechanical power button” [22].
        Unfortunately, the design of the door that covers the power button makes it
    difficult to secure. The door contains an opening to allow cables to pass through.
    By inserting a metal tool through this opening, an attacker can press the power
    button even with the door fully closed.
        Even if both the door and the opening were securely sealed while the BMD
    was in use by voters, election workers need to access the power button so they
    can turn on the machine, both during pre-election testing and at the polling
    place. Dishonest election workers (like those emphasized by Defendants and their
    expert Michael Shamos) or intruders who gained access to the machine during
    these times could exploit the vulnerability to install malware.




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    9     Installing Malware Remotely

    I have described several methods by which attackers can install malware with
    only brief physical access to an ICX. Although these are severe vulnerabilities, the
    ICX is also vulnerable to an even more dangerous method of malware installation.
    By modifying the election definition files that election workers copy to the BMDs
    before each election, attackers can spread malware to them remotely, with no
    physical access to the individual machines. By levering this vulnerability, an
    attacker who infiltrates a county Election Management System (EMS) can spread
    malware to every ICX in the county, and infiltrating other systems could allow
    vote-stealing malware to be spread to all ICXs state-wide.
        This attack is somewhat more complex than the ones I have described so far,
    so I will explain it in stages. I first describe how BMD election definitions are
    produced and distributed. Then I will describe a critical vulnerability that allows
    a modified election definition file to run arbitrary code on the ICX. Finally, I
    will explain how this vulnerability can be exploited to remotely install malware.


    9.1    ICX Election Definitions

    Prior to each election, the ICX must be configured with the available ballot
    styles, contests, and choices. This data is created using the Democracy Suite
    EMS software and packaged into an election definition file that is distributed to
    the BMDs on USB sticks [19].
   Structure and Encryption
       My testing shows that ICX election definition files are Zip archives that are
   encrypted using the AES (a.k.a. Rijndael) algorithm. The filename can vary,
   but I will refer to it as “ICX.dat”. The Zip archive contains a SQLite database
   (electiondata.db3) that defines the ballot designs and election-specific settings.
   It also contains assorted graphic files, audio files, and language translation files
   that are used for presenting the ballots to voters.
       I analyzed county election data from the November 2020 and January 2021
   elections produced by State Defendants. The data shows that, under current
   Georgia practice, all BMDs within a county are loaded with the same ICX.dat file,
   which provides every local ballot design used in the county. Moreover, all scanners
   and BMDs within each county use the same encryption key and initialization
   vector (IV) during a particular election. Given access to the county EMS or
   Election Package, the key and IV can be retrieved from the election project
   database using the SQL command:

          SELECT RijndaelKey, RijndaelVector from ElectionEvent;

    I show in Section 6.1 that the same key and IV can also be extracted from any
    Poll Worker Card in the county, given brief access to the card and PIN.
        After obtaining the key and IV, the ICX election definition file can be
    decrypted using the following shell command:


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        openssl enc -d -aes-128-cbc -K $(xxd -pu <<< ’RijndaelKey’)
            -iv $(xxd -pu <<< ’RijndaelVector ’) -in ICX.dat -out ICX.zip.
   Issue: ICX election definition files are not digitally signed, and they can be
   modified by anyone with access to a symmetric encryption key that is shared by
   all scanners and BMDs within each county.
       Dominion could have used digital signatures to secure the ICX election
   definition files against malicious modification. Instead, there does not appear to
   be any cryptographic integrity protection, beyond verifying that the decrypted
   file is a properly formed Zip archive. As a result, anyone with access to the
   encryption key and IV discussed above can decrypt the ICX.dat file, modify it,
   and re-encrypt it using a command similar to the one shown above. My testing
   shows that the ICX will accept the modified file as if it were genuine.
   Distribution and Points of Attack
       In Georgia, each county operates a separate election management system
   (EMS)—a collection of servers and computers that operate the Dominion Democ-
   racy Suite EMS application software [20]. Before each election, Dominion centrally
   prepares an initial Election Project for each county (the data that defines the
   contests and candidates on the ballots).18 The company sends each county its
   Election Project in the form of an Election Package, a Zip archive that contains
   the election project database used by the EMS software, ballot PDF files for
   printing, and individual election definition files to be copied to the ballot scanners
   and BMDs. At the county, workers import the Election Package into the county
   EMS. As described in Exhibit B, workers then copy the election definition file
   from the EMS to one or more USB drives, which they insert into each ICX to
   load the election definition into the machine’s internal storage.
       This election definition distribution process introduces two kinds of opportu-
   nities for remote malware attacks:
    At the county level. An attacker who infiltrates a county’s EMS can modify
       the county’s ICX.dat file before it is copied to USB drives, and thereby
       spread malware to all BMDs in the county.19
    At Dominion. An attacker who infiltrates the facility where Dominion prepares
       Election Projects could modify the election definitions distributed to all
       Georgia counties, and thereby spread malware to every ICX used in Georgia.
        Such attacks could be automated through the use of further malicious software
    installed on infiltrated EMS systems. That software would be programmed to de-
    tect when a new Election Package was loaded. It would then locate the ICX.dat file
    and modify it using the key and IV from the EMS database. Any BMDs on which
    the modified election definition was subsequently loaded would become infected.
      18
         In March 2020, Eric Coomer testified that a single Dominion employee was preparing
    the Election Projects for all 159 Georgia counties [82, 65:17-69:22].
      19
         Alternatively, an attacker with only access to the USB drives could modify the file
    before it was loaded into the BMDs, given access to a Poll Worker card and PIN from
    which to obtain the encryption key.


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    9.2   Directory Traversal Vulnerability

   Issue: The ICX software contains a critical directory traversal vulnerability that
   allows a maliciously modified election definition file to overwrite arbitrary files.
       The ICX contains a critical vulnerability in the code that loads election
   definition files. The problems is a so-called “Zip Slip” vulnerability, a common
   but severe flaw in software that processes Zip files, which has been observed to
   be “especially prevalent” in Java-based software such as the ICX App [81].
       Zip files, such as the ICX election definitions, can contain a hierarchy of folders
   and files. The Zip format represents this by storing each file’s name together with
   its directory path. For example, a file logo.png in a folder resources within
   would be represented in a Zip file using the name resources/logo.png.
       Normally, when software extracts a Zip file’s contents, it recreates the contents
   inside a specified target folder. The Zip Slip vulnerability allows a maliciously-
   crafted Zip file to create or overwrite files in any writable location on the system.
       To do so, the attacker changes the path names in the Zip file to begin with
   “../”. Secure Zip extraction code will detect and ignore these characters, but
   software that suffers from the Zip Slip vulnerability will treat them as part of
   the file’s location. Operating systems interpret these special characters not as a
   literal name but as a reference to the target location’s parent folder. By repeating
   these characters multiple times, the attacker can traverse to the root folder and
   direct the file to be stored in any writable location on the system. For example, a
   Zip file crafted to contain a file named ../../etc/passwd that was extracted by
   a vulnerable application inside the target folder /root/tmp/ would result in an
   existing file named /etc/passwd being overwritten with the new file’s contents
   (so long as the running process had permission to write to /etc/passwd).
       The ICX suffers from exactly this problem. When an election definition file is
   loaded, the system decrypts it to a Zip file and extracts the contents in a specific
   storage location. However, the ICX fails to check whether the file names contain
   parent folder references. As a result, an attacker can create a modified election
   definition file that will create or overwrite files in any location on the device that
   is writable by the ICX App. As I explain below, an attacker can leverage this
   capability to execute arbitrary code and install malware.


    9.3   Arbitrary Code Execution as Root

   Issue: The BMD runs code with root privileges from a file that is writable by
   the ICX App. When combined with the directory-traversal vulnerability, this
   allows a malicious election definition file to execute arbitrary code as root.
         The Android OS employs access control and privilege separation to limit what
    files an app can modify. These defenses normally prevent an app from accessing
    another app’s data, changing its own APK, or installing a new app. However,
    I find that weaknesses in the ICX software allow attackers to circumvent these
    defenses. A malicious election definition file can cause attacker-supplied code to


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    be executed with “root” privileges—complete control of the device’s software,
    including the ability to override all file access restrictions and install malware.
        The ICX App contains a native-code executable file named                            Redaction
    that is delivered as part of the APK. The app does not run this file directly,
    but rather it makes a copy in the folder                                                Redaction
            , for which the app has write permission. Each time the app starts, it
    checks whether the file is already at that location, and, if not, it extracts it from
    the APK and places it there.
        The ICX Android distribution includes a vendor-specific system service called
                  that it uses to control various hardware functions. This service          Redaction
    uses a dangerous and insecure design that allows the ICX App to execute
    arbitrary commands with root privileges. Every time the ICX App starts, it uses
                  to run                        as root.                                    Redaction
        An attacker can exploit these behaviors in combination with the directory
    traversal vulnerability to create an election definition file containing malicious
    code that will be executed with root privileges. The attacker merely has to
    modify the ICX.dat file so that, when the Zip archive is extracted, it over-
    writes                                                                           with   Redaction
    the malicious code. The next time the BMD is powered on, the ICX App will
    use               to run the file with root privileges, giving the attacker’s code      Redaction
    full control of the device.

    9.4   Installing Malware from the Election Definition File
    Given the ability to execute arbitrary code as root, the last step to remotely
    installing malware is replacing the ICX App’s code with a maliciously modified
    version, which can be constructed as described in Section 7. An attacker could
    replace the app’s code by several means; I demonstrate one particularly efficient
    method that is a variation of a technique presented at the Black Hat Asia
    conference in 2015 by Paul Sabanal [70].
        The ICX App, like most Android apps, is written in the Java programming
    language. Prior to distribution, the Java source code is compiled into a Dalvik
    Executable (DEX) file that is combined with other resources to create a self-
    contained APK file. When the APK is installed on the machine, Android performs
    a process called ahead-of-time compilation to generate code that is optimized for
    execution efficiently on the device’s hardware. This involves translating the Java
    bytecode in the DEX file into native code for the machine’s processor, which
    gets stored as what is called an OAT file [2]. When the ICX App runs, it is the
    translated code in the OAT file that actually gets executed, not the original code
    from the APK.
        Sabanal’s technique is to replace the OAT file with one containing malicious
    code, rather than the more obvious approach of replacing the DEX file. In
    addition to other technical advantages that I discuss below, this avoids intro-
    ducing a potentially noticeable delay caused by the ahead-of-time compilation
    process. Though I did not attend Sabanal’s original presentation, I found that
    his publicly available slides were effectively a walk-through of how to perform the

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            technique [71]. To streamline the process, rather than directly using the dex2oat
            tool to create the malicious OAT file, I simply installed my malicious APK and
            copied out the OAT file that was generated by the Android installation process.
            I then modified the OAT file to reflect the DEX path and checksum expected by
            the operating system, as described in Sabanal’s presentation.
            Putting the Pieces Together I created proof-of-concept malware that installs
            automatically when a surreptitiously altered election definition is loaded into the
            BMD. The key steps are described below:
               I started by decrypting the original election definition file and then modified
            the internal Zip archive to add two new files:

             – A maliciously modified version of the ICX App, in the form of an OAT file.
             – A shell script (a simple program) that, when run on the BMD with root
               privileges, overwrites the OAT file for the installed ICX App with the malicious
               OAT file extracted from the Zip archive, then restarts the ICX App.

                 I added the shell script to the Zip archive in a way that exploits the directory
            traversal vulnerability, so that, when the BMD extracts the election definition
Redaction   file, the existing                       program is replaced with the shell script.
            Finally, I encrypted the modified Zip file with the original encryption key. (These
            steps are performed automatically by a shell script I created.)
                 The result is a malicious election definition file that appears to behave
            identically to the original election definition when loaded onto a BMD by an
            unwitting election worker. However, the next time the BMD is powered on, the
            shell script runs and invisibly replaces the ICX App’s logic with malicious code.


            9.5   Defeating Security Precautions More Easily

            Like locally installed malware, remotely installed malware could use the mech-
            anisms described in Section 7 to defeat Georgia’s logic and accuracy testing
            (LAT), hash verification, and external APK validation. However, an advantage
            to the infection technique described here is that can intrinsically bypass these
            protections with no additional effort on the attacker’s part.
            Defeating Logic and Accuracy Testing Georgia’s pre-election testing pro-
            cedures (Exhibit B) specify that an election worker should:

             1. Insert a USB stick containing the election definition file.
             2. Use a Technician Card to copy the file to the BMD.
             3. Use a Poll Worker Card to open polls using the election definition.
             4. Vote and print at least one test ballot from the BMD.
             5. Use a Poll Worker Card to close polls and power off the BMD.
             6. Seal the BMD for delivery to the polling place.

                When the election definition is loaded from the USB stick in step 2, the file
            is merely copied to the BMD’s storage. Its contents are extracted during step 3,

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    when the encryption key from the Poll Worker card is provided. This sets the stage
    for the malware to be installed when the BMD is next powered on, at the polling
    place. Note, however, that LAT is performed immediately, without restarting
    the BMD first. This means that testing for the current election will be finished
    before the malware is activated, so no LAT-circumvention logic is required.20
    Defeating Hash Validation and External APK Validation The hash
    value that the ICX App displays is computed by the app itself by hashing
    its installed APK file, which is stored within the Android filesystem. However,
    the malware installation technique described here overwrites the dynamically
    generated OAT file and leaves the original APK intact. As a result, the hash
    reported by the app does not change, even though the running logic has been
    maliciously altered. Similarly, when the ICX App exports its APK for external
    verification, it copies the same locally-stored APK to a USB drive. Since the
    remotely installed malware does not change the APK, the exported file will
    contain no evidence of infection.


    9.6   Conclusions

    I have identified critical vulnerabilities in the ICX software that enable an attacker
    to remotely execute arbitrary code on the device. These vulnerabilities can be
    exploited by maliciously altering the election definition files that workers copy to
    all ICXs before every election.
        Security experts consider arbitrary code execution to be one of the most
    dangerous classes of vulnerabilities, particularly when it can be exploited to
    run code with root privileges, as it can on the ICX. In 2006, Harri Hursti
    discovered a similar arbitrary code execution vulnerability that affected Georgia’s
    old AccuVote TS-X DREs [45]. At the time, Defendants’ expert Michael Shamos
    called it “the most serious security breach that’s ever been discovered in a voting
    system” [44]. The vulnerabilities in the ICX are as or more severe.
        Using these vulnerabilities, I developed functional proof-of-concept malware
    that automatically and invisibly installs itself on any ICX on which an infected
    election definition file is loaded, then manipulates voters’ printed ballots to steal
    votes. By compromising election definition files in this way, an attacker with
    access to a county’s EMS could spread malware to all ICXs in the county, and
    an attacker who infiltrated the systems that Dominion uses to prepare initial
    election projects for all Georgia counties could spread vote-stealing malware to
    every ICX used in Georgia. As I discussed in Section 3.2, even the ICX’s use of
    a paper trail poses no obstacle to vote-stealing attacks in the vast majority of
    elections and contests, and malware can also evade Georgia’s other technical and
    procedural defenses.



      20
         Of course, an attacker might aim to create malware that would cheat in future
   elections too. In that case, the methods in Section 7 could still be used to defeat future
   rounds of LAT.


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            10     Manipulating Logs and Protective Counters

            Two additional protections that the ICX maintains are an “audit log” of events
            before, during, and after the election, and a “lifetime counter” of the number of
            ballots printed. Both can be easily defeated.
            Public and Lifetime Counters The ICX App uses two counters to track the
            number of ballots it prints: the “public counter” and the “lifetime counter”. These
            values are used by election workers to confirm that all ballots are accounted for
            and that the counts match between the BMDs and scanners.
                The public counter is displayed on the Poll Administration Menu and at all
            times in the lower-left corner of the screen, where it is readily visible to voters.
            By design, the public counter can be reset by election workers when the poll is
            closed by using the “Reset” button in the Poll Administration Menu.
                The lifetime counter is designed to be a tally of all ballots printed by the
            machine since its manufacture. It is only displayed on the Poll Administration
            Menu, and the software does not provide a way to reset it.
            Audit Logs The ICX audit logs record timestamped entries related to important
            events, such as opening or closing the poll, Poll Worker or Technician log-ins,
            attaching or detaching USB storage devices, software errors, etc. Although
            the time at which a ballot was displayed to a voter is recorded, the audit log
            does not contain information about the voters’ selections. From the Technical
            Administration menu, the audit log can be viewed on-screen or exported to a
            USB drive for review by pressing the “Export Audit Log” button.


            10.1   Vulnerable Storage Design

            Issue: ICX audit logs and protective counters are stored in regular files with no
            protection beyond filesystem permissions, which can be easily bypassed.
            Issue: The ICX does not provide any mechanism to verify the integrity of
            exported audit logs.
                Internally, the audit logs and counters are simply files stored in the device’s
            Android filesystem. Reverse-engineering of the ICX App shows that they are
            stored at these locations:

Redaction    – Audit logs:
Redaction    – Public counter:
Redaction    – Lifetime counter:

               Access to these files is controlled using filesystem permissions, but the data
            they contain does not appear to be protected by any kind of encryption or
            cryptographic integrity mechanism, such as a MAC or a digital signature. Nor
            are the audit logs cryptographically protected when exported to a USB device.
               To advance the counters, the ICX App simply reads, increments, and over-
            writes the values in the files. Similarly, to make a log entry, it simply appends

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    to the current day’s log file. When exporting logs, the app merely packages the
    existing audit log files into a Zip file and writes it to the USB drive.
        This leaves the counters and logs highly vulnerable to modification. As I
    explained in previous sections, weaknesses in the ICX allow attackers to easily gain
    root privileges, which lets them bypass all filesystem access controls. Consequently,
    attackers can arbitrarily edit or erase the audit logs, and they can change the
    protective counters to any value they choose.


    10.2   Manual and Automated Modification
   An attacker with physical access to the BMD can manipulate the logs and
    counters via several routes. First, they need to escape from the ICX App, using
    any of the methods described in Section 8. After accessing the underlying Android
    operating system, it is a simple matter to locate the applicable file and change its
    contents to suit the attacker’s purposes. Attackers can do this either by installing
    malicious software that modifies the files automatically or by manually editing
    them using Android apps that are pre-installed on the ICX.
        To give a concrete example, suppose the attacker wants to manipulate the
    ICX access log. They can hold the power button on the side of the machine to
    reboot it in “safe mode” (see Section 8.7), then open the File Manager app and
    navigate to the log file location shown above. By tapping on the log file icon,
    they can open it in the Android Text Editor app and simply use the touch-screen
    to select and delete arbitrary log entries.
        Modifying the protective counters is slightly more involved due to the need
    to bypass filesystem permission checking. To do so, the attacker can open the
    pre-installed Terminal Emulator app and (using the on-screen keyboard or a
    physical keyboard), execute the su command to gain root privileges, as described
    in Section 8.3. They can then write new values to the counter files using any
    standard command-line method. I confirmed that this technique can successfully
   “roll back” the lifetime counter to a previous value, allowing the attacker to conceal
    having printed arbitrarily many ballots.
        While I describe manual modification techniques here, malware can also
    obtain root privileges (see Section 9.3) and can be programmed to modify the
    logs and counters in an automated fashion. For example, malware could easily
    be programmed so that, on first run, it removed any log entries associated with
    its installation. Since modifying the log files would demonstrate no additional
    security insights beyond those required to install malware in the first place, I did
    not include such clean-up behavior in the proof-of-concept malware, but it would
    be a simple matter for a real attacker to do so.




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    11     Weaknesses in the ICP Scanner

    The Dominion ImageCast Precinct (ICP) ballot scanner was not the focus of
    my investigation, and time constraints precluded conducting a complete security
    analysis of the device. Nevertheless, I did uncover some security problems related
    to the ICP, which I report in this section.


    11.1   The ICP Accepts Photocopied Ballots

   Issue: The ICP as tested did not require ballots to be printed on security paper,
   and it accepted ICX ballots photocopied on normal office paper.
        Georgia uses special “security” paper stock for official ballots, including those
    printed by BMDs [32, 35]. However, when I tested the Fulton County ICP using
    ballots printed on normal copier paper, it accepted and counted them normally.
    I also tested scanning photocopies of BMD-printed ballots, and the ICP again
    accepted and counted them normally.
        As Section 3.2 explains, the message authentication codes in the QR codes
    do not allow the scanners to distinguish between original and duplicate ballots,
    so, absent a check on the physical paper stock, the scanners cannot detect
    photocopied ballots.
        Use of security paper is potentially valuable during a risk-limiting audit or
    a hand recount. Assuming access to such paper is carefully controlled, ballots
    printed on non-official paper could be detected during the auditing process.
    However, I note once again that Georgia requires risk-limiting audits of only once
    race in November elections of even numbered years, leaving other contests and
    elections potentially unprotected.


    11.2   A Dishonest Poll Worker with Access to the ICP Memory
           Card can Deanonymize All Voted Ballots

    Issue: The ICP tested does not encrypt ballot images stored on its memory card.
    Issue: ICP memory cards store ballot images in the order they were cast.
        The ICP stores a complete digital image of every scanned ballot on its
    removable memory card, and these images are returned to the EMS for possible
    later review or adjudication. On the Fulton County scanner I tested, the ballot
    images were not encrypted, and I could easily extract them. Moreover, my testing
    shows that the unencrypted ballot images are stored in the order in which they
    were cast, potentially deanonymizing the secret ballots.
        Encrypting ballot images appears to be a configuration option that jurisdic-
    tions can enable. That option was not enabled in the ICP I tested, which was
    purportedly configured in the same way as the scanners used during Georgia
    elections. In any event, even if jurisdictions were to enable this encryption option,
    the county-wide encryption keys can be be extracted from any ICX Poll Worker
    Card, given brief access to the card and PIN (see Section 6.1).


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        I determined the ballot image storage format by examining what data on the
    memory card changed when I scanned an additional ballot. The ballot images
    are not stored as regular files in the card’s filesystem. Rather, they are stored in
    a proprietary data structure in a secondary partition.                                  Redaction



    Following this volume header, the ballot images are stored sequentially.                Redaction



                                                                           I created a
    Python program (cfextract.py) to extract the ballots images from the memory
    card, in the order they were voted, and output them as TIFF files.
        Storing the ballots in voted-order raises serious risks to ballot secrecy. A
    dishonest poll worker could observe voters as they used the scanner and secretly
    note their names, in order. If, after voting was finished, the poll worker had
    brief access to the scanner memory card, they could read its contents with an
    inexpensive and widely available Compact Flash card reader, then use a program
    like mine to view all the ballots and associate each with the voter’s identity.

    11.3   Installed Tamper-Evident Seal could be Bypassed or Defeated
   Issue: The ICP modem port door is incompletely closed when sealed, allowing
   access to connectors inside.
   Issue: The tamper-evident seal on the ICP tested was improperly installed,
   leaving it easily defeated.
        The Fulton County ICP was delivered to Plaintiffs with only one tamper-
    evident seal installed. On the right side of the ICP, a plunger-style security seal
   was affixed to a small plastic door that the ICP User Guide refers to as the
   “Modem Port” [21, p. 11], which covers an RJ45 Ethernet port and a USB Type-A
    port. The seal, Intab part number 03-1366 [50], consists of a braided wire that
    passes through a metal loop in the machine’s case, preventing the door from
    being fully opened. The sealed door, as we received it, is shown in Figure 14a.
        One problem with this sealing arrangement is that, by applying tension to
    the door, it can be opened several millimeters without removing the seal. As
    shown in the figure, this is sufficient access to see both ports, and an attacker
    could almost certainly attach electronic equipment to either port by inserting
    conductive probes through the gap in the door. The problem could have been
    avoided by using a different kind of seal. Dominion’s manual states that “[a]
    lock, tamper evident label, or tamper evident tie wrap should be placed on the
    door lock loop” [21, p. 49], but the seal that was installed is a wire seal, which is
    thinner and more flexible than a typical tie wrap, allowing more play.
        Furthermore, the seal was improperly installed and could easily be removed
   without breaking it. According to the manufacturer’s instructions, when installing
    the seal, the metal plunger needs to be fully depressed into the seal housing. In
    the condition we received it, the plunger was incompletely inserted, as shown in

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        (a) ICP sealed door, as received             (b) Defeating the seal

   Figure 14: Defeating the ICP Tamper-Evident Seal. The ICP scanner from
   Fulton County used a plunger-style wire seal to guard access to the “Modem Port”.
   Even with the seal installed, an attacker could open the door enough to access
   the telephone and USB ports inside it (left). While the seal’s documentation [50]
   shows that a properly installed seal will have the metal plunger fully inserted
   (top), the seal as installed only had the plunger partially depressed (middle).
   This allowed easy removal of the seal in such a way that it could be reattached
   without leaving any visible evidence of tampering (bottom).




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    Figure 14b. I watched as my assistant used his bare fingers to grasp the plunger
    and simply pull it out of the seal’s plastic housing. With the plunger removed,
    he was able to free the wire from the seal housing using a gentle tugging motion,
    thus removing the seal and allowing the door to fully open.
        After inspecting the internals of the seal’s housing, I determined that the
    wire running through the metal hasp had been only slightly bent due to the
    incomplete insertion of the plunger. This allowed the seal to be removed without
    damaging any of its components. It would be possible to reaffix it without leaving
    any obvious signs that it had been breached.
        That Fulton County election workers selected an inappropriate seal and failed
    to properly install it—on a scanner they knew would be subjected to security
    testing—suggests that Georgia security seal practices are insufficient to reliably
    protect the state’s election equipment from undetected physical access.




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    Expert Qualifications

   My name is J. Alex Halderman. I am Professor of Computer Science and Engineer-
   ing, Director of the Center for Computer Security and Society, and Director of the
   Software Systems Laboratory at the University of Michigan in Ann Arbor. I hold
   a Ph.D. (2009), a master’s degree (2005), and a bachelor’s degree (2003), summa
   cum laude, in computer science, all from Princeton University. My background,
   qualifications, and professional affiliations are set forth in my curriculum vitae,
   which is available online at https://alexhalderman.com/home/halderman-cv.pdf.
       My research focuses on computer security and privacy, with an emphasis on
   problems that broadly impact society and public policy. Among my areas of
   research are software security, network security, computer forensics, and election
   cybersecurity. I have authored more than 90 articles and books, and my work
   has been cited in more than 12,000 scholarly publications. I have served as a
   peer-reviewer for more than 35 research conferences and workshops.
       I have published numerous peer-reviewed research papers analyzing security
   problems in electronic voting systems used in U.S. states and in other countries.
   I have also investigated methods for improving election security, such as efficient
   techniques for auditing whether computerized election results match paper ballots.
   I regularly teach courses in computer security, network security, and election
   cybersecurity at the graduate and undergraduate levels. I am the creator of
   Securing Digital Democracy, a massive, open, online course about computer
   security and elections that has attracted more than 20,000 students.
       I serve as co-chair of the State of Michigan’s Election Security Advisory
   Commission, by appointment of the Michigan Secretary of State. I have also
   performed security testing of electronic voting systems for the Secretary of State of
   California. I have testified before the U.S. Senate Select Committee on Intelligence
   and before the U.S. House Appropriations Subcommittee on Financial Service
   and General Government on the subject of cybersecurity and U.S. elections.
       I received the John Gideon Award for Election Integrity from the Election
   Verification Network, the Andrew Carnegie Fellowship, the Alfred P. Sloan
   Foundation Research Fellowship, the IRTF Applied Networking Research Prize,
   the Eric Aupperle Innovation Award, the University of Michigan College of
   Engineering 1938E Award for teaching and scholarship, and the University of
   Michigan President’s Award for National and State Leadership.


    Affirmation

    I declare under penalty of the perjury laws of the State of Georgia and the United
    States that the foregoing is true and correct, and that this report was executed
    this 1st day of July, 2021.




                                             J. Alex Halderman

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    Exhibit A: October 2020 Software Update Instructions




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                                                                      1201 18TH Street, Suite 210
                                                                             DENVER, CO, 80202
                                                                                 1.866.654.8683
                                                                      www.dominionvoting.com


Software Installation for ICX:
 1. Press the power button to turn on the ICX.




 2. Insert tech card, input password, then click login.
 3. Click exit in the top right corner of the screen.




 4. Click Yes when asked if you would like to exit the application.




                                                                             P a g e 1 | 10
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                                                                           1201 18TH Street, Suite 210
                                                                                  DENVER, CO, 80202
                                                                                       1.866.654.8683
                                                                            www.dominionvoting.com

5. Click Launch *note: the launch button may be partially hidden by the back button.




6. Swipe left from the right side of the screen and click the rotate button 3 times. Swipe up when
   finished.




7. Click App Button




                                                                                  P a g e 2 | 10
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                                                        1201 18TH Street, Suite 210
                                                               DENVER, CO, 80202
                                                                   1.866.654.8683
                                                        www.dominionvoting.com



8. Click Settings




9. Click Apps




10. Click ImageCast X




11. Click Uninstall




                                                               P a g e 3 | 10
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                                                        1201 18TH Street, Suite 210
                                                               DENVER, CO, 80202
                                                                   1.866.654.8683
                                                        www.dominionvoting.com

12. Click Ok




13. Swipe left to ‘Running’. Click Settings




14. Click stop




                                                               P a g e 4 | 10
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                                                        1201 18TH Street, Suite 210
                                                               DENVER, CO, 80202
                                                                   1.866.654.8683
                                                        www.dominionvoting.com

15. Insert USB




16. Click Settings




17. Click Security




                                                               P a g e 5 | 10
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                                                                         1201 18TH Street, Suite 210
                                                                                DENVER, CO, 80202
                                                                                    1.866.654.8683
                                                                         www.dominionvoting.com

18. Toggle on Unknown Sources *Note: The toggle should be blue after toggling




19. Click Ok




20. Click the back arrow in the top left corner.




21. Click Apps




                                                                                P a g e 6 | 10
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                                                        1201 18TH Street, Suite 210
                                                               DENVER, CO, 80202
                                                                   1.866.654.8683
                                                        www.dominionvoting.com

22. Swipe left to ‘Running’. Click Settings




23. Click Stop




24. Click File Manager




                                                               P a g e 7 | 10
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                                                        1201 18TH Street, Suite 210
                                                               DENVER, CO, 80202
                                                                   1.866.654.8683
                                                        www.dominionvoting.com

25. Click menu button in the top left corner.




26. Select USB Storage




27. Click ICX.apk




28. Click Install




                                                               P a g e 8 | 10
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                                                                          1201 18TH Street, Suite 210
                                                                                 DENVER, CO, 80202
                                                                                     1.866.654.8683
                                                                          www.dominionvoting.com

29. Click Open




30. Input password and click login
31. Click Android Settings




32. Click Security




33. Click to toggle off Unknown Sources *Note: The toggle should be gray when toggled off




34. Click the back arrow in the top left corner




                                                                                 P a g e 9 | 10
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                                                         1201 18TH Street, Suite 210
                                                                DENVER, CO, 80202
                                                                    1.866.654.8683
                                                         www.dominionvoting.com

35. Click Home




36. Click Imagecast X




37. Click back arrow




38. Click the Home button at the bottom of the screen.




39. Remove the tech card and USB drive.
40. Software version should now read 5.5.10.32




                                                              P a g e 10 | 10
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                        REDACTED VERSION




    Exhibit B: Georgia Logic and Accuracy Procedures




                                                          78
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Logic and Accuracy Procedures

                            Version 1.0
          Georgia Secretary of State – Brad Raffensperger
                         © January 2020




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                        Logic and Accuracy Procedures

Items needed when testing:
From EMS workstation computer create the following items from the Election Project associated to
the election for which testing is being conducted:
 Use Election Event Designer Application (EED) for the following:
       o Programmed Technician Card
       o *Programmed Poll Worker Card*
       o USB Drive containing information from GA ICX BMD programming group
       o *Print out of Ballot Activation Codes*
       o *Programmed Compact Flash Cards for Polling Place Scanner *
       o *Programmed Security Key Tab for Polling Place Scanner *
                Recommendation: Create the * items above for each polling location and then use
                  these to L&A test the equipment designated for the same polling place; at
                  completion of L&A test on designated equipment package these items with the
                  tested equipment for delivery to the designated polling place
 Provided by SOS after Election Project Obtained
       o Election Project User names and Passcodes
       o Technician Card Passcode
       o Poll Worker Card Passcode
       o Security Key Tab Passcode
       o Polling Place Scanner Re-zero Passcode
       o Poll Pad User name and Passcode
       o Poll Pad Menu Code


Testing Steps:

A. Preparing the BMDs
    Connect BMD to Printer
    Connect BMD and Printer to power supply
    First, Power Printer On
    Power the BMD On
    Verify installed version in top left corner of screen; v5.5.10.30
    Confirm presence of State Acceptance Test Sticker and seal on top left of BMD
    Insert Technician Card and enter passcode for specific election
    Verify date and time are properly set
         o If time or date needs to be adjusted, touch Modify and set the time and date
         o If time and date are correct, touch Confirm
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      Touch Clear All Election Data
      Touch Yes
      Enter passcode
      Touch OK
      Insert USB Drive into an available USB slot in the Election Data compartment of the BMD
      Touch Load Election Data
      Select the data file to be loaded from the USB Drive
          o Touch Select
          o Touch Copy
          o Touch Ok
      Remove the USB Drive from the Election Data compartment of the BMD
      Close the Election Data compartment and attach seal, notate the number of the attached seal
       on paperwork
      Remove Technician Card
      Insert Poll Worker Card and passcode for specific election
      Touch Select Tabulator
      Select the BMD for the Polling location to which this BMD is being assigned
      Touch OK
      Touch Manual Selection Activation and confirm a checkmark appears in the box
      Touch AVS Controller and confirm a checkmark appears in the box
      Touch Open Polls
      Touch Yes
          o If Warning displayed regarding printer, confirm the Printer is connected and On
          o Touch OK
          o Touch Open Polls
          o Touch Yes
      Name of Polling Place BMD is assigned will display in Black on the top left of BMD Screen;
       confirm correct Polling Place shown
      Name of Election will display in Gray on the top left of BMD Screen; confirm correct Election
       shown
      Remove the Poll Worker Card
      Confirm Total Ballots Printed in bottom left corner shows zero (0)
      BMD is now ready


B. Preparing the Polling Place Scanner
    Insert the Primary Compact Flash Card into the Poll Worker Slot
    Insert the Backup Compact Flash Card into the Administrator Slot
    Confirm the Polling Place Scanner connected properly to the Ballot Box
    Confirm presence of State Acceptance Test Sticker on right side of scanner
    Power the Polling Place Scanner ON by plugging the Ballot Box into an AC power supply
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      When the Polling Place Scanner begins to beep, beep, beep; align and carefully press down
       the Security Key Tab to the Security Key Slot
      When prompted on the screen, key in the passcode for the specific election, then press Enter
      Confirm Date and Time, modify the date and time if necessary
      Touch Utilities
      Touch Diagnostics
          o Touch Simple
          o Touch Yes after Thermal Printer test
          o Touch Print
          o Touch No
          o Review printed tape, confirm software version 5.5.3-0002
          o If any item in the Diagnostic test fails, do not proceed
      Touch Open Poll
          o Enter passcode for specific election, if prompted
      Touch Zero
          o Confirm tape shows zero results for all candidates in all races
          o If results are not zero, do not proceed
      Touch No for additional copies
      Confirm Polling Place Scanner shows zero (0) ballots cast
      Polling Place Scanner is now ready to accept ballots


C. Preparing Poll Pads for BMD LA Testing
    Notification of the LA/Advance Voting data set for Poll Pad along with a QR Code image for
      scanning by Poll Pad will be forwarded to those locations with a scheduled election
    Reference Poll Pad training documents and materials for assistance if the following steps need
      further explanation
    Power on Poll Pads to be used for LA/Advance Voting; this will not be ALL Poll Pads but only
      specific Poll Pads
    Connect designated Poll Pads to the appropriate connection
    Launch the Poll Pad application and scan the QR code image; follow prompts displayed on
      Poll Pad to obtain the Poll Pad LA/Acceptance Data set for the scheduled election
    Once download of the data file is complete, close the Poll Pad application
    Disconnect the Poll Pad from the appropriate connection
    Launch the Poll Pad application again
    Touch Get Started
    Enter User name and Passcode for specific election
    Touch Manual Entry
    Key in the Precinct Name or Precinct ID into the Last Name field
    Touch Search
    Touch the Precinct and Combo record desired and follow the prompts to create a voter card

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      Create a voter card from Poll Pad for each unique ballot style within the designated Polling
       Location
          o Recommend labels be placed on card identifying what ballot style will be displayed by
              BMD once card is inserted
          o BMD removes the activation code from the Voter Card once used, therefore create the
              card again from Poll Pad after each use by a BMD


D. Testing the BMD and Printer
Use a combination of Poll Worker Card with Ballot Activation Codes for the polling location, and Voter
Cards created from a Poll Pad loaded with the LA/Advance Voting dataset to bring up ballots on the
BMD
    Produce at least one printed ballot from each BMD assigned to the polling location
    Produce a test deck from the BMDs assigned to the polling location for each unique ballot style
      within the polling location. The test deck must contain at least one vote for each candidate
      listed in each race within the unique ballot style
           o Example: Ballot from BMD 1 contains a vote for only the first candidate in each race
              listed on Ballot Style 1, Ballot from BMD 2 contains a vote only for the second candidate
              in each race on Ballot Style 1, and continue through the line of devices until all
              candidates in all races within the unique ballot style have received a single vote
           o If Number of BMDs outnumber the number of vote positions on the unique ballot
              style, start the vote pattern over until all BMDs have produced one printed ballot
           o If Number of unique ballot styles in the polling place is greater than 1, once the
              vote pattern is complete for a unique ballot style, proceed to the next BMD in line to
              start the review of the next unique Ballot Style
           o All unique ballot styles do not have to be tested on each BMD
    Review BMD-generated Test Deck and confirm the vote content before placing in the
      designated Polling Place Scanner

E. Testing the Polling Place Scanner
    Scan the BMD-generated Test Deck into the Polling Place Scanner
    Scan one blank optical scan ballot style(s) associated to the Polling Place to verify the Polling
      Place Scanner will recognize the ballot style in case of emergency
    Verify Scanner(s) shows a number of Ballot Cast equal to the number of ballots in the BMD-
      generated test deck plus the scanned blank Optical Scan ballot styles
    Firmly place the Security Key Tab in the Security Key Slot
    Touch Close Polls
    Enter the passcode
    Touch Enter
    Touch Yes
    Touch No for additional tapes (Scanner will automatically produce 3 copies of the closing tape)

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      Review the results tape and confirm result printed matches the known vote content of the
       BMD-generated and Optical Scan ballot test deck
           o If results do not match, the scanner has failed, do not proceed
      Touch Power Down
      Touch Yes
      Unplug the Ballot Box from the AC power supply
      When the unit is OFF, open the Poll Worker card slot door and remove the Poll Worker
       Compact Flash Card
      The Poll Worker Compact Flash card for each Polling Place Scanner MUST be uploaded to
       the RTR application to confirm the Compact Flash card can be recognized and results
       transferred to the EMS for tabulation; then validate and publish the uploaded result file
      After the Compact Flash Card is uploaded to RTR, return the Compact Flash card to its
       designated Polling Place Scanner and re-insert it into the Poll Worker card slot


F. Preparing the BMD for Election
    Insert the Poll Worker Card and enter passcode
    Touch Admin Menu
    Touch Close Polls
    Touch Yes to confirm
    Touch Reset
    Touch Yes to confirm
    Enter Passcode for specific election
    Touch Ok to confirm
    Confirm Public Counter is at Zero (0); center of BMD screen
    Touch Power off, bottom right corner of screen
    Touch Yes to confirm
    Remove Poll Worker Card
    Turn Printer Off
    Disconnect the Power and Printer from BMD
    Close and seal the Power and Election Data compartments on the right side of the BMD
         o Make note of the seals attached
    Make the BMDs and Printers ready for delivery to the Polling Place


G. Preparing the Polling Place Scanner for Election
    Confirm that both the Poll Worker and Administrator Compact Flash cards are inserted into
      their assigned slots
    Power the Polling Place Scanner ON by plugging the Ballot Box into an AC power supply
    When the Polling Place Scanner begins to beep, beep, beep; align and carefully press down
      the Security Key Tab to the Security Key Slot

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      When prompted on the screen, key in the needed passcode, then press Enter
      Confirm Date and Time, modify the date and time if necessary
      Touch Utilities
      Touch Re-Zero
      Enter Re-Zero passcode
      Confirm Ballot Cast shows as Zero (0)
      Touch Utilities
      Touch Report
      Touch Election Report
      Touch Zero
      Enter Number of Reports to print = 1
      Touch Enter
      Touch No for additional copies
      Confirm tape shows zero results for all candidates in all races
      Remove the tape and place with L&A Paperwork
      Touch Power Down
      Touch Yes
      Unplug Ballot Box from AC power supply
      Open Ballot Box and remove all test ballots from the Main bin, from the Write-In bin, and from
       the emergency bin
      Confirm that all bins are empty and properly secured
      Close and seal the ballot box, make note of the seals applied
      Place seals on the Poll Worker and Administrator Compact Flash Card doors, make note of the
       seals applied
      Make Ballot Box with attached Polling Place Scanner ready for delivery to the Polling Place


H. Testing ICC Workstation and Central Scanner
    Load ICC ABS tabulator Data Set to ICC workstation computer DVS folder
    Launch ICC Application
    Import Tabulator
    Attach Security Key Tab; Enter Passcode
    Enter Name of Project equal to name of ICC ABS tabulator
    Click Load
    Click Configuration
    Set secondary results path
    Verify Scanner is On and recognized by the ICC application
    Click Scan Options
    Set Ballot configuration to Dynamic
    Set scanner to Stop on Overvotes for ALL races

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      Set Scanner Continuity to Continuous Scan
      Click OK
      Click Scanning
      Click YES
      Insert Test Deck with known result
      Click Scan
      Verify Scanner recognizes and scans all ballots within the test deck
      Verify Scanner recognizes any error ballots that may be included within the test deck
      Verify Scanner recognizes any overvotes
      Accept the Batch
      Close the ICC application
      Remove ICC ABS tabulator Data Set from ICC workstation computer DVS folder
      Open RTR Application on EMS Workstation
      Open election project
      Load Results from ICC via Secondary path established on ICC workstation
      Click Load
      Click Election Summary Report and generate Election Summary Report prior to validating and
       publish result file from ICC
      Click Result Files
      Click Search
      Select ICC ABS result file
      Click Validate and Publish
      Click Election Summary Report and generate Election Summary Report
      Verify Results shown for ABS match the known result of the Test Deck scanned by the ICC


I. Upload LA results to ENR
    After results have been loaded to RTR from the Polling Place and ICC scanners
    Create folder on the Desktop of EMS computer labeled State Export
    Open RTR, click Export
    Click Export Type
    Click Search
    Verify that ONLY the GA Export File type is active (contains a checkmark)
    In tool bar, click Settings>Transfer Points
    Click Add
    Click Browse; Select the folder on the Desktop labeled State Export
    In Connection Name type State Export
    Click OK
    Click Save
    Below Tool Bar, Click Start Results Export

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      Minimize RTR
      Open State Export folder on Desktop
      Confirm Export file present in State Export folder
      Extract export file and upload to State ENR
      Open EED
      Create folder to Desktop labeled “Name of Election-Backups”
      Create a Backup copy of the Election Project
      Copy the saved Backup zip file and accompanying SHA file and place in Backups folder; copy
       the folder containing the backups to removable media
      Clear results from RTR
      Print new Election Summary Report from RTR confirming all LA results have been cleared
      Close RTR and EED on EMS workstation


J. Loading Election Day Dataset to Poll Pad
    Approximately one week prior to the scheduled Election Day, notification of Election Day data
     files for Poll Pad along with a QR Code image for scanning by Poll Pad will be forwarded to
     those locations with a scheduled election
    Power on Poll Pad
    Connect Poll Pads scheduled for use on Election Day to the appropriate connection
    Launch the Poll Pad application and scan the QR code image; follow prompts displayed on
     Poll Pad to obtain the Poll Pad Election Day Data set for the scheduled election
    Once download of the data file is complete, close the Poll Pad application
    Disconnect the Poll Pad from the appropriate connection
    Launch the Poll Pad application again
    Touch Get Started
    Enter the User name and Passcode for the specific election
    Confirm the proper Election and Polling Location are shown at the top of the screen
    Confirm the number of Precinct Records (voters assigned to location) is accurate
    Confirm Check-Ins are Zero (0)
    Connect Voter Card Encoder to Poll Pad and confirm encoder is recognized by Poll Pad
     (green indicator at top right of screen)
    Connect power cord to Voter Card Encoder and verify power flows through Voter Card
     Encoder and charges the Poll Pad
    Touch Scan Barcode
    Confirm camera is operational
    Touch Cancel
    Touch Manual Entry
    Key in last name of known voter in polling place
    Touch Search

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      Touch selected voter record, confirm voter information shown is accurate
      Touch Accept
      Confirm Voter Certificate is displayed with signature line
      Put in example signature
      Touch Done Signing
      Confirm Poll Officer Initial box is operational
      Touch Submit
      Touch Touchscreen
      Insert Voter Card into Voter Card Encoder
      Verify Ballot Style and Ballot Activation Code display at bottom of screen
      Confirm Create Card button at top of screen becomes active
      Touch Create Card to verify Voter Card can be created
      Touch Manual Entry
      Find previous Voter
      Touch Wheel and Enter password; confirm password for specific election recognized
      Cancel Voter Check-in
      Spoil Ballot
      Verify mark has been removed
      Press iPad Home button to Close Poll Pad Application


K. Loading Update File to Poll Pad
    On the Saturday prior to the scheduled Election Day, notification of Election Day update data
      files for Poll Pad will be forwarded to those locations with a scheduled election
    Power on Poll Pad
    Connect Poll Pads scheduled for use on Election Day to the appropriate connection
    Launch the Poll Pad application and follow prompts displayed on Poll Pad to obtain the Poll
      Pad Election Day Data set for the scheduled election
    Once download of the data file is complete, close the Poll Pad application
    Disconnect the Poll Pad from the appropriate connection
    Launch the Poll Pad application again
    Touch Get Started
    Enter User name and Passcode for the specific election
    Confirm the proper Election and Polling Location are shown at the top of the screen
    Confirm the number of Precinct Records (voters assigned to location) is accurate
    Confirm Check-Ins are Zero (0)
    Connect Voter Card Encoder to Poll Pad and confirm encoder is recognized by Poll Pad
      (green indicator at top right of screen)
    Connect power cord to Voter Card Encoder and verify power flows through Voter Card
      Encoder and charges the Poll Pad

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   Touch Menu
   Touch Summary Report
   Touch Absentees; confirm expected number of Absentee Voters for polling location
   Touch Home
   Touch Get Started
   Touch Scan Barcode
   Confirm camera is operational
   Touch Cancel
   Touch Manual Entry
   Key in last name of known voter in polling place
   Touch Search
   Touch selected voter record, confirm voter information shown is accurate
   Touch Accept
   Confirm Voter Certificate is displayed with signature line
   Put in example signature
   Touch Done Signing
   Confirm Poll Officer Initial box is operational
   Touch Submit
   Touch Touchscreen
   Insert Voter Card into Voter Card Encoder
   Verify Ballot Style and Ballot Activation Code display at bottom of screen
   Confirm Create Card button at top of screen becomes active
   Touch Create Card to verify Voter Card can be created
   Touch Manual Entry
   Find previous Voter
   Touch Wheel and Enter password; confirm password for specific election recognized
   Cancel Voter Check-in
   Spoil Ballot
   Verify mark has been removed
   Press iPad Home button to Close Poll Pad Application
   Power Poll Pad off
   Place Poll Pad along with Voter Card Encoder, stand, charging cord and AC plug into case
   Close Case and Seal; notate seal on paperwork




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                        REDACTED VERSION




    Exhibit C: Pro V&V Field Audit Report




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Field Audit Report
Dominion Voting Systems
Democracy Suite (D-Suite) System
Version 5.5-A




     Approved by: _________________________________________

                    Jack Cobb, Laboratory Director




     Approved by: _________________________________________

                    Wendy Owens, VSTL Program Manager

                           December 2, 2020




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1.0    INTRODUCTION

The purpose of this Report is to document the procedures that Pro V&V, Inc. followed to perform a Field
Audit of the Dominion Democracy Suite (D-Suite) 5.5-AVoting System as fielded in selected counties in
the State of Georgia.

1.1     References

The documents listed below were utilized in the development of this Report:

•     Election Assistance Commission (EAC) 2005 Voluntary Voting System Guidelines (VVSG) Version
      1.0, Volume I, “Voting System Performance Guidelines”, and Volume II, “National Certification
      Testing Guidelines”
•     Election Assistance Commission Testing and Certification Program Manual, Version 2.0
•     Election Assistance Commission Voting System Test Laboratory Program Manual, Version 2.0
•     National Voluntary Laboratory Accreditation Program NIST Handbook 150-2016, “NVLAP
      Procedures and General Requirements (NIST Handbook 150)”, dated July 2016
•     National Voluntary Laboratory Accreditation Program NIST Handbook 150-22, 2008 Edition,
      “Voting System Testing (NIST Handbook 150-22)”, dated May 2008
•     United States 107th Congress Help America Vote Act (HAVA) of 2002 (Public Law 107-252), dated
      October 2002
•     Pro V&V, Inc. Quality Assurance Manual, Version 7.0
•     EAC Requests for Interpretation (RFI) (listed on www.eac.gov)
•     EAC Notices of Clarification (NOC) (listed on www.eac.gov)

1.2     Terms and Abbreviations

The terms and abbreviations applicable to the development of this Test Report are listed below:

       “COTS” – Commercial Off-The-Shelf

       “DRE” – Direct Record Electronic

       “EAC” – United States Election Assistance Commission

       “EMS” – Election Management System

       “FCA” – Functional Configuration Audit

       “HAVA” – Help America Vote Act

       “ICC” – ImageCast Central


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      “ICX” – ImageCast X

      “ICP” – ImageCast Precinct

      “ISO” – International Organization for Standardization

      “NOC” – Notice of Clarification

      “QA” – Quality Assurance

      “RFI” – Request for Interpretation

      “VSTL” – Voting System Test Laboratory

      “VVSG” – Voluntary Voting System Guidelines

1.3   Background

On Thursday, November 12, 2020, Pro V&V received a request from the Office of the Georgia Secretary
of State to perform a Field Audit of the Dominion Democray Suite (D-Suite) 5.5-A Voting System in
multiple counties, as selected by the Office, throughout the State. The purpose of this Field Audit was to
verify the software/firmware and hardware used during the 2020 General Election was the same as the
software/firmware and hardware that were Certified for Use by Georgia’s Secretary of State Office.

1.4   System Description

The Democracy Suite 5.5-A Voting System is a paper-based optical voting system consisting of the
following major components: the ImageCast Central (ICC) optical ballot scanner, the ImageCast Precinct
(ICP) precinct count tabulator, and ImageCast X (ICX) BMD ballot marking device.

ImageCast Central (ICC) Count Scanner

The ICC is a high-speed, central ballot scan tabulator based on Commercial off the Shelf (COTS)
hardware, coupled with the custom-made ballot processing application software. It is used for high speed
scanning and counting of paper ballots.

ImageCast X (ICX) Ballot Marking Device (BMD)

The ICX consists exclusively of COTS available hardware and operating system, while the applications
installed on top customize its behavior to turn it into a Ballot Marking Device (BMD). The ICX is
designed to perform the following functions: ballot review and second chance voting, accessible voting,
and ballot marking.




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ImageCast Precinct (ICP)

The ICP device is a precinct optical scan paper ballot counter designed to provide six major
functionalities: ballot scanning, second chance voting, ballot review, tabulation, and poll worker
functions.

For ballot scanning functionality the ICP scans marked paper ballots, interprets voter marks on the paper
ballots and stores the ballots for tabulation when the polls are closed.

Second Chance voting refers to scenarios in which an error has been detected on the voter’s paper ballot
(e.g., blank ballot, undervoted ballot, overvoted ballot, misread ballot, cross-over voted ballot), and the
ICP notifies the voter by displaying a message or providing an audio visual cue, that one of these
situations has been detected, and offers the voter an opportunity to reject and fix their ballot, or to cast the
ballot as-is.

The Ballot Review feature allows a voter to review their vote selections using a visual representation,
which displays to the voter a complete listing of all contests contained on the ballot and an indication of
the results which will be recorded for each contest once the voter’s ballot is cast.

The Tabulation of paper ballots cast by voters is performed when the polls are closed on the ICP unit and
the unit tabulates the results, generates results files for aggregation into RTR, and prints a results report
containing the results of the ballots cast.

For poll worker functions the ICP contains a small touch-screen LCD to allow the poll worker to initiate
polling place activities, diagnostics and reports..

1.5   Scope

Pro V&V randomly selected components of the D-Suite system (an ICP, an ICX, and an ICC) from the
system in each county that had been utilized in the November 2020 General Election. It was at the
discretion of the Pro V&V on-site team which units were subject to verification. The Georgia Secretary
of State Office contacted the selected counties and arranged for the Pro V&V team to be granted access to
the systems. The selected counties were given less than six hours notice before the Pro V&V team
arrived.

2.0   AUDIT OVERVIEW

The evaluation of the D-Suite 5.5-A Voting System consisted of removing a copy of the
software/firmware from each component and evaluating the software/firmware against a known SHA-256
hash value outside of the system.




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3.0   AUDIT PROCESS AND RESULTS

The following sections outline the audit process that was followed to evaluate the D-Suite 5.5-A Voting
System under the scope defined in Section 1.5.

3.1   General Information

The Field Audit was conducted under the guidance of Pro V&V by personnel verified by Pro V&V to be
qualified to perform the audit.

3.2   Audit Configuration

An ICX was selected at random from the warehouse in each county. The team member then
photographed the seals and the device. All seals that needed to be removed were then removed.
After all photographs were taken, the team member inserted a clean USB drive from Pro V&V
into left hand access compartment. Next the team member then plugged in the unit and powered
it on. At the prompt the team member inserted a Tech Key smart card and selected the option to
“Extract Application”. The team member then verified the SHA-256 generated by the unit and
photographed the popup screen. The team then took the USB drive containing the exported
application to a Pro V&V laptop to compare the SHA-256 hash values to the known value from
previous testing.

An ICP was selected at random from the warehouse in each county. The team member then
photographed the seals and the device. All seals that needed to be removed were then removed.
After all photographs were taken, the team member removed any compact flash cards under
county supervision and inserted two compact flash cards (one blank and the other containing
techextract.enc that was created by Pro V&V during certification testing). The unit was plugged
in and powered on. A password was entered and a tech iButton was then read by the ICP and the
option to “Extract Firmware” was selected. The compact flash cards, if present, were returned to
the same ICP. The team member then took the compact flash card containing the exported
firmware to a Pro V&V laptop to compare the SHA-256 hash values to the known value from
previous testing.

An ICC was selected at random in each county central office if there were multiple units. The
team member then photographed the device. The county provided the creditals to login to the
workstation. The Pro V&V team member navigated to the ICC folder on the root of the
workstation and copied all application files onto a Pro V&V USB drive. The team member then
took the USB drive containing the exported firmware to a Pro V&V laptop to compare the SHA-
256 hash values to the known value from previous testing.




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3.3   Summary Findings

During the Field Audit, a total of eighteen (18) components located among six (6) counties were
evaluated to verify the version of software/firmware running on each device. It was discovered that
allversions on all components matched the known certified SHA-256 hash value.

4.0   CONCLUSIONS

Based on the results obtained during the Field Audit, Pro V&V determines the D-Suite 5.5-A Voting
System, on all evaluated components, is the voting system certified by the Georgia Secretary of State
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